                                  Case 18-12867-BLS                Doc 1       Filed 12/27/18          Page 1 of 87



United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number ~rfknown~                                                    Chapter      7
                                                                                                                      ❑ Check if this an
                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document,Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name               JN Winddown, LLC

2.   All other names debtor      DBA Jamberry
     used in the last 8 years    FDBA Jam Management Holdings, LLC
     Include any assumed         DBA Jamberry Nails Intermediate
     names, trade names and      DBA Jamberry Nails Holdings
     doing business as names     FDBA Jamberry Nails, LLC

3.   Debtor's federal
     Employer Identification     XX-XXXXXXX
     Number(EIN)


4.   Debtor's address            Principal place of business                                   Mailing address, if different from principal place of
                                                                                               business

                                 P.O. Box 1611
                                 American Fork, UT 84003 -
                                       —~ ~—               ——                                  P.O. Box, Number, Street, City, State &ZIP Code
                                 Number, Street, City, State &ZIP Code

                                 Utah                                                          Location of principal assets, if different from principal
                                 County                                                        place of business

                                                                                               Number, Street, City, State &ZIP Code
                                                                                                                       __         __                         ___

5.   Debtor's website (URL)       none                                                        __                                 __    __
                                                                                                                                               __
6.   Type of debtor               ■Corporation (including Limited Liability Company(LLC)and Limited Liability Partnership (LLP))
                                  ❑ Partnership (excluding LLP)
                                  ❑ Other. Specify:




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    ~N Winddown. LLC                                                                                  Case number (ilknown)



7.   Describe debtor's business         A. Check one:
                                        ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                        ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                        D Railroad (as defined in 11 U.S.C. § 101(44))
                                        ~ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        O Commodity Broker (as defined in 11 U.S.C. § 101(6)1
                                        ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        ■ None of the above

                                        B. Check alI that apply
                                        ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                        ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        ❑ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7361

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the             ~ Cha ter 7
     debtor filing?                           p
                                        ❑ Chapter 9
                                        ❑ Chapter 11. Check all that apply:
                                                            ❑         Debtor's aggregate noncontingent liquidated debts (excluding. debts owed to insiders or a~liates)
                                                                      are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                            ❑         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the debtor is a small
                                                                      business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                      statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                      procedure in 11 U.S.C. § 1116(1)(8).
                                                            ❑         A plan is being filed with this petition.
                                                            ❑         Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                      accordance with 11 U.S.C. § 1126(b).
                                                            ❑         The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                      Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                      attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                      (Official Form 201 A) with this form.
                                                            ❑         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        ❑ Chapter 12



9.   Were prior bankruptcy              ■ No.
     cases filed by or against
     the debtor within the last 8       ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                      When                             Case number
                                                 District                                      When                             Case number


10. Are any bankruptcy cases            ■ No
    pending or being filed by a
    business partner or an             ❑Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                        Relationship
                                                 District                                      When                            Case number, if known
                                                            __
                                                __                _           _                  _       _ _.




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 2
                                Case 18-12867-BLS                    Doc 1        Filed 12/27/18             Page 3 of 87
Debtor   ~N Winddown, LLC                                                                        Case number (ilknown)



11. Why is the case filed in    Check all that apply:
    this district?
                                ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or      ■ No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                ❑Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check afl that apply.)

                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?

                                           ❑ It needs to be physically secured or protected from the weather.

                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                           ❑ Other
                                           Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                           Is the property insured?
                                           ❑ No
                                           ~ Yes. Insurance agency                                                                                                   __
                                                      Contact name
                                                      Phone


         Statistical and administrative information

13. Debtor's estimation of              Check one:
    available funds
                                        ❑ Funds will be available for distribution to unsecured creditors.

                                        ■ After any administrative expenses are paid, no funds will be available to unsecured creditors.
                                                                                                     -          _                _ ___                 __        __
14. Estimated number of         ❑ 1-49                                          ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ❑ 50-99                                         ❑ 5001-10,000                              ❑ 50,001-100,000
                                ■ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                ❑ 200-999

15. Estimated Assets            ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ■ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion
                                                                                                                                             __
16. Estimated liabilities       ❑ $p - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ■ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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                                    JN WINDDOVE'N,LLC

                             Written Consent of the Sole Member

                               Effective as of Decernber 26, 2018

       The unde~•signed, being the sole member (the "1VIer~~iber") of JN Winddown, LLC, a
Delaware limited liability company (the "Co~ttparty"), does hereby consent in writing to the
adoption of the following resolutions pursuant to Section 18-302(d) of the Limited Liability
Company Act of the State of Delaware:

      WHEREAS,the Member has considered the financial and operational conditions of the
Company's business;

        WHEREAS,the seclxred creditors of the Company foreclosed upon certain of the
Company's assets, and the Company thereafter entered into a sale of certain of its remaining
assets for the benefit of its creditors;

         WHEREAS,the 1Vlember has determined to its reasonable satisfaction that the proceeds
of the sale and the value of the Company's remaining assets are insufficient to satisfy the
liabilities of the Company;

        RESOLVED,THEREFORE,that in the business judgment of the Member after
consideration of the alternatives presented to it and the recommendations of senior management
of the Company and the advice of the Company's professionals and advisors that it is in the best
interests of this Company, its creditors, members and other interested parties, that a voluntary
petition be filed by the Company under the provisions of Chapter 7 of Title 11 of the United
States Code (the "Bankruptcy Cvde"); and it is

       FURTHER RESOLVED,that the officers of the Company (the "OffzceNs") be, and they
hereby are, authorized to execute and file on behalf of the Company all petitions, schedules, lists
and other papers or documents, and to take any and all action which they deem necessary or
proper to obtain such relief; and it is

       FURTHER RESOLVED,that the Officers be, and they hereby are, authorized and
directed to employ the law firm of Pachulski, Stang, Ziehl ~ Jones LLP as general bankruptcy
counsel to the Company to represent and assist the Company in filing under Chapter 7 of the
Bankruptcy Code; and it is

       FURTHER RESOLVED,that the Officers are authorized, empowered and directed to
take any and all further action and to execute and deliver any and all such further instruments
and documents and to pay all such expenses (subject to Bankruptcy Court approval), where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes of the
resolutions adopted herein; and it is

       FURTHER RESOLVED,that all actions taken by the Officers prior to the date hereof
in connection with the possible reorganization and/or liquidation of the Company or any matters



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related thereto, or by virtue of these resolutions, are hereby in all aspects ratified, confirmed, and
approved.

       [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]




                                                  2
NA1-1505914133v2
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       IN WITNESS WHEREOF, the undersigned has executed this Written Consent of the
Sole Member as of'the date first written above.



                                         SOLE MEMBER:

                                         JAMBERRY NAILS INTERMEDIATE,LLC

                                                     .-'

                                               Naive: Stuart Martin
                                               Title: Vice President, Secretary and
                                                      Treasurer




                                    (SIGNATURE PAGE TO
                   ii'RITTEN CONSENT OFSOLE MEMBER OF.JN WINDDOWN,LLCJ

NAI-1505914133v2
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82030(Form 2030)(12/15)
                                                              Uiaited States Bankruptcy Caurt
                                                                      District of Delaware
 In re      JN Winddown, LLC                                                                                 Case No.
                                                                                  Debtors)                   Chapter


                          ~;I~CI.OSUR~ Off' C011ZP~NSATI~N ~F r~T'I'QRllTEI' ~'O~ D~B'I'QR(S)
       Pm•suant to l 1 U .S.C. ~ 329(x) and Fecl. Banki•. P. 20l 6(b), I cerCify that I am the attorney for the above named debtors) and that
       compensation paid tome within one year before the filing of the petition in banlc~•aptcy, or agreed to be paid to me,for services rendered or to
       be rendered on behalf of the debtors) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                 80,000.00
             Prior to the filing of this statement ]have received                                        ~                 80.000.00
             Balance Due                                                                                                         0.00

2.     $    335.00       of the filing fee has been paid.

3.     The source of the compensation paid to one was:

             ■ Debtor              ❑     Other (specify):

4.     The source of compensation to be paid to me is:

             ❑ Debtor              ■     Othec (specify):           N/A

5.       ■ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my ]aw firm.

         ❑ I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, 1 have agreed to rendef• legal service for all aspects of the bankruptcy case, including:

       a. [Other• provisions as needed]
                a. the preparation of the petition, schedules of assets and liabilities, statement of financial affairs, schedule of
                income and expenditures, lists of creditors and equity security holders, statement of executory contracts and
                unexpired lea§e§, and ma§ter mailing list;

                  b. appearance at the meeting of creditors pursuant to section 341(a) of the Bankruptcy Code; and

                  c. otherwise advise the Debtor regarding its rights and responsibilities as a debtor under Chapter 7 of the
                  Bankruptcy Code and the Bankruptcy Rules.

       By agreement with the debCor(s), the above-disclosed fee does not include the following service:
               a. appearances before any court or agency, other than the Bankruptcy Court or appellate courts an issues related
               to the bankruptcy, with respect to matters, which are, in essence, disputes involving issues of non-bankruptcy
               law, or the provision of substantive legal advice outside the insolvency area, unless we agree to represent the
               Company in such matters; and

                  b. advice or representation regarding matters of taxation, labor, securities, ERISA, probate/estate planning,
                  criminal, or other non-bankruptcy or non-debtor/creditor specialties of the law.




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 In re       JN Winddown, LLC                                                                           Case No.
                                                               Debtors)

                          DISCLOSURE OF COIVTPENSATION OF ATTORNEY FOR DEBTORS)
                                              (Continuation Sheet)
                                                                            CERTIFICATION
       1 certify that the foregoing is a complete statement of any agreement or an-angem~it..t[]L-l~yment to me for representation of the debtors) in
 this bankruptcy proceeding.                                                   /'~"~           ~~

      --- ~
     Dare
                                                                     ----             aura Day' ones
                                                                                    Signatzn~e ofAttonaey
                                                                                    Pachulski Stang Ziehl &Jones LLP
                                                                                    919 North Market Street
                                                                                    17th Floor
                                                                                    Wilmington, DE 19801
                                                                                    302-652-4100 Fax:302-652-4400
                                                                                    Name oflaw fi~~rz




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 Debtor name            ~N Winddown, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                        ❑ Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15

              Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/8.............................................................................................................................                       $                     0.00

       1b. Total personal property:
                                                                                                                                                      ...............................        $            659,708.51
           Copy line 91A from Schedule A/8..................................

       1 c. Total of all property:
                                                                                                                                                                                             $           659,708.51
            Copy line 92 from Schedule A/8...........................................................................................................................


              Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                             $       69,643,785.00
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206ElF)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from dine 5a of Schedule E/F..........................................................................                                          $             65,487.01

       3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                    +$        2,900,861.65



 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                                 $        72,610,1 33.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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 Debtor name          ~N Winddown, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 ❑ Check if this is an
                                                                                                                                   amended filing




Official Form 206A/B
Schedule A/B: Assets -Real and Personal Property                                                                                                          12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 99, list each asset under the appropriate category or attach separate supporting scheduies,such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In ualuing the
debtor's interest, do not deduct the value of secured Maims. See the instructions to understand the terms used in this form.
'.          Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    ❑ No. Go to Part 2.
    ■ Yes Fill in the information below.
    AIt cash or cash equivalents owned or contra{led by the debtor                                                                      Current vaiue of
                                                                                                                                        debtor's interest

            Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1. Chase bank account                                                                          3393                                     $12,370.51



            Other cash equivalents (identify all)
                                                                                                                                                                  __
            Total of Part 1.                                                                                                                       $12,370.51
                                                                                                                                    —                   — _-
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

                    Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    ❑ No. Go to Part 3.
    ■ Yes Fill in the information below.

            Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                      Prior to the date hereof, the debtor's provided deposits to Morris Meetings &Incentives,
                      LLC for travel packages to Costa Rica and Thailand. The debtor ceased operations
            7~1 •     prior to the date of the planned travel. The deposits have not been refunded.                                                 $139,588.00


                 Prior to the date hereof, debtor provided Jon Gordon a reservation deposit to secure
                 his appearance at a conference in Nashville, TN scheduled for July 21, 2018. The
                 debtor ceased operations prior to the date of the conference. The deposit has not been
            7.z. refunded.                                                                                                                            $12,500.00
                                                                                                                                          _-- --


Official Form 206A/B                                          Schedule A/B Assets -Real and Personal Property                                                page 1
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Debtor          JN Winddown, LLC                                                              Case number (~rknown~


                   Prior to the date hereof, debtor provided Caleb Marshall a/k/a The Fitness Marshall with
                   a deposit for his performance and instructional services to be proivded at a conference
                   scheduled on July 19, 2018. Prior to the date of the conference, the debtor ceased
           7.3.                                                                                                                 $4,250.00
                   operations. The deposit has not been refunded.



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                                                                                                                         ---     --
9.         Total of Part 2.                                                                                                $156,338.00
            Add lines 7 through 8. Copy the total to line 81.

 .~         Accounts receivable
10. Does the debtor have any accounts receivable?

     ■ No. Go to Part 4.
     ❑ Yes Fill in the information below.


                Investments
13. Does the debtor own any investments?

     ■ No. Go to Part 5.
     ❑ Yes Fill in the information below.


            Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets ?

     ■ No. Go to Part 6.
     ❑ Yes Fill in the information below.


             Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     ■ No. Go to Part 7.
     ❑ Yes Fill in the information below.


            Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     ■ No. Go to Part 8.
     ❑ Yes Fill in the information below.


             Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ■ No. Go to Part 9.
     ❑ Yes Fill in the information below.


'.           Real property
                                       --
54. Does the debtor own or lease any real property?

     ■ No. Go to Part 10.
     ❑ Yes Fill in the information below.



Official Form 206A/B                                            Schedule A/B Assets -Real and Personal Property                       page 2
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 Debtor          JN Winddown. LLC                                                              Case number (~rknoWn)


 '. ~       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    ■ No. Go to Part 11.
    ❑ Yes Fill in the information below.


              All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    ❑ No. Go to Part 12.
    ■ Yes Fill in the information below.

                                                                                                                            Current daiue of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses(NOLs)
            Description (for example, federal, state, local)

            Potentially from Australia                                                          Tax year                               $100,000.00




            Canadian Tax refund                                                                 Tax year                               $116,000.00




 73.        Interests in insurance policies or annuities
            Without authority, M Network continued to sell the
            debtor's inventory from a v~rarehouse in the Netherlands.                                                                  $250,000.00




 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Bellstar Marketing, Inc. used the debtor's letter of credit
            to pay off Bellstar's debts to Disney (unrelated to the
            debtor's business with Bellstar)                                                                                      _      $25,000.00
            Nature of claim            Conversion of Letter of Credit
            Amount requested                             $25 000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
                                                                                                                        ~                                ~
 78.        Total of Part 11.                                                                                          i~         $491,000.00
            Add lines 71 through 77. Copy the total to line 90.                                                                 --             _ - - --~
 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            ■ No
            ❑ Yes


Official Form 206A/B                                            Schedule A/B Assets -Real and Personal Property                                 page 3
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 Debtor         JN Winddown, LLC                                                                                    Case number (itknown~
                Name


'.              Summary

In Part 12 copy all of the totals from the earlier parts of the form
      i'ype of ~ro~?Prty                                                                              ~urrer~#:?talue ~rf                ~urrens ratti~ of read
                                                                                                      p~rsonaP ~rrapeafy                 propsrty

80. Cash, cash equivalents, and financial assets.
                                                                                                                   $12,370.51
    Copy line 5, Part 7

81. Deposits and prepayments. Copy line 9, Part 2.                                                                $156,338.00

82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

83. Investments. Copy line 17, Part 4.                                                                                     $0.00

84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                           $0.00
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 57, Part 8.                                                              $0.00


88. Real property. Copy line 56, Part 9......................................:..................................................>                                 $0.00


89. Intangibles and intellectual property. Copy line 66, Part 70.                                                          $0.00

90. All other assets. Copy line 78, Part 11.                                                      +               $491,000.00
                                                                                             __             _--                               -
91. Total. Add lines 80 through 90 for each column                                                            $659,708 51           + 91 b.                       $0.00

                                                                                                                                                  --              --.__
92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                      __           $659,708.51




Official Form 206A/B                                              Schedule A/B Assets -Real and Personal Property                                                              page 4
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Debtor name           ~N Winddown, LLC

United States Bankruptcy Court for the:             DISTRICT OF DELAWARE


Case number (if known)
                                                                                                                                        ❑ Check if this is an
                                                                                                                                              amended filing


uffiiciai Form 2~bu
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
     ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

     ■ Yes. Fill in ail of the information below.

              List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Colamn B
2. List in alphabetical order ail creditors mho have secured claims, if a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                 Amount of c4aim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Dc not deduct the value     claim
                                                                                                                    of cailateral.
Z~     Cerberus Business
                                                      Describe debtor's property that is subject to a lien             $69,643,785.00                   Unknown
       Finance, LLC _ _
       Creditor's Name                               All property or collateral as defined by Pledge
                                                     and Security Agreement dated April 25, 2015
                                                     (less amounts recovered by post-foreclosure
       875 Third Avenue                              sale of certain collateral
       New York, NY 10022                                   -           _.__~---
       Creditor's mailing address                     Describe the lien
                                                      Security Interest
       jnaccarato@cerberuscapita                      Is the creditor an insider or related party?
       I.00171                                        ~ No
                                        _....__
       Creditor's email address, if known             ❑ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         ~ No
       April 25, 2015                                 ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ■ No                                           ❑ Contingent

       ❑ Yes. Specify each creditor,                  ❑ Unliquidated
       including this creditor and its relative       ❑ Disputed
       priority.



                                                                                                                            69,643,785.
3    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         ~              00


              ist Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1

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 Debtor name         J N Winddown, LLC                                                                               ______.       __

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                               ❑ Check if this is an
                                                                                                                                                      amended filing


viticiai t=orm 2u6E1F
Schedule E/F: Creditors V1Jho Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/8: Assets -Real and
Personal Property (Official Form 206A1B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

             ,List All Creditors with PRIORITY Unsecured Claims_.__

       1. Do any creditors have priority unsecured claims?(See 11 U.S.C. § 507).

          ❑ No. Go to Part 2.

          ~ Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                                        To4a! claim          Priority amount


 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $168.00         Unknown
                                                                                                                                                                          --
           Arizona Dept. of Revenue                                  Check all that apply.
           PO Box 29010                                              ■Contingent
           Phoenix, AZ 85038-9010                                    ■ Unliquidated
                                                                     ~ Disputed


           Date or dates debt was incurred                           Basis for the claim:
           VariOUS
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ~ Na
           unsecured claim: 11 U.S.C. § 507(a)(8)
                                                                     ❑ Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            UnkllOWll         Unknown
           Canada Revenue Agency                                     Check all that apply.
           201 St. George Street                                     ❑Contingent
           Bathhurst, ~B                                             ~ Unliquidated
           E2A 1 B8                                                  ❑Disputed
           Canada
           Date or dates debt was incurred                           Basis for the claim:
           2016, 2017
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ■ No
           unsecured claim: 11 U.S.C.§ 507(a)(8)
                                                                     ❑ Yes




Official Form 206E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                      page 1 of 22

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 Debtor      ~N Winddown, LLC                                                                                 Case number (if known)
              Name
 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      Unknown      Unknown
          HM Revenue &Customs                                        Check all that apply.
          Alexander House, 21 Victoria                               ❑ Contingent
          Avenue                                                     ~ Unliquidated
          Southend-on-Sea                                            ❑ Disputed

           United Kingdom
           Date cr dates debt was incur.ed                           Basis for the cl2im:
          2018
           Last 4 digits of account number                           Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ~ No
          unsecured claim: 11 U.S.C. § 507(a)(8)
                                                                      ❑ Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $22,88~.0~    Unknown
          Internal Revenue Service                                   Check all that apply.
          PO Box 21126                                               D Contingent
          Philadelphia, PA 19114                                     ■ unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
          2016
           Last 4 digits of account number                           Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         ■ No
          unsecured claim: 11 U.S.C. § 507(a)(8)
                                                                     ❑ Yes


 2.5   ~ Priority creditor's name and mailing address                As of the petition filing date, the claim is:                     $15,211.94    Unknown
          Internal Revenue Service                                   Check all that apply.
          P.O. BoX 267                                               ❑Contingent
          Stop 812                                                   ~ Unliquidated
           Covington, KY 41019-0001                                  ❑Disputed

           Date or dates debt was incurred                           Basis for the claim:
          2015
           Last 4 digits of account number                           Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        ~ No
          unsecured claim: 11 U.S.C.§ 507(a)(8)
                                                                     ❑ Yes


 2.6    ~ Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1206.94     Unknown
          Mississippi Dept. of Revenue                               Check all that apply.
          PO BOX 23050                                               •Contingent
          Jackson, MS 39225-3050                                      ■ Unliquidated
                                                                      ■ Disputed

           Date or dates debt was incurred                           Basis for the claim:
          August 2018                                                filed an appeal to remove the assessment
           Last 4 digits of account number                           Is the claim subject to offset?
          Specify Code subsection of PRIORITY                        •No
          unsecured claim: 11 U.S.C. § 507(a)(8)
                                                                      ❑ Yes




Official Form 206 E/F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                          Page 2 of 22
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 Debtor       ~N Winddown, LLC                                                                                Case number (if known)


 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $20.00     Unknown
                                                                                                                                                                 —        ---
           New Mexico Taxation and Revenue                           Check all that apply.
           Dep                                                       ❑Contingent
           P.O. Box 25128                                            ■ Unliquidated
           Santa Fe, NM 87504                                        ❑Disputed

           Date or dates debt was incurred                           Basis for the claim:
           .~2C~.^.

           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ~ No
           unsecured claim: 11 U.S.C. § 507(a)(8)
                                                                     ❑ Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $1,723.15    Unknown
           Texas Comptroller                                         Check all that apply.
           P.O. Box 149348                                           ■Contingent
           Austin, TX 78714-9348                                     ■ unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018
           Last 4 digits of account number                           is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ~ No
           unsecured claim: 11 U.S.C.§ 507(a)(8)
                                                                     ❑ Yes


29    Priority creditor's name and mailing address                   As of the petition filing date, the claim is:                                  $24,276.98        Unknown
 ----                                                                Check a!I that apply.
           Utah County Tax Assessor
           100 East Center Street                                    ~ Contingent
           Suite 1200                                                ~ Unliquidated
           Provo, UT 84606                                           ❑Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ~ No
           unsecured claim: 11 U.S.C.§ 507(a)(8)
                                                                     ❑ Yes



              List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1      Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is: Check all that apply.                      $789.14
          AB Graphic International                                                 ❑ Contingent
          2755 Pinnacle Drive                                                      ❑ Unliquidated
          Matt Billuni                                                             ❑ Disputed
          Elgin, IL 60124
                                                                                   Basis for the claim:
          Dates) debt was incurred _
          Last 4 digits of account number _                                        Is the claim subject to offset? ■ No ❑Yes


 3.2     J Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply                     $6,081.33
 --
          Accelerated Packaging                                                    ❑ Contingent
          PO Box 536                                                               ❑ Unliquidated
          Payson, UT 84651                                                         ❑ Disputed
          Dates) debt was incurred                                                 Basis for the claim:
          Last 4 digits of account number _
                                                                                   Is the claim subject to offset? ■ No ❑Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 22
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 Debtor         ~N Winddown, LLC                                                                       Case number (~tknown)
                 Name

 3.3_ _ Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.              $145.00
              ACE Recycling &Disposal                                         ❑ Contingent
              P.O. Box 2608                                                   ❑ Unliquidated
              Salt Lake City, UT 84110                                        ❑ Disputed
              C1ate(sj debt was incurred _                                    Basis for the claim:
              Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No ❑Yes

                                                                                                                                                             ~~,296.85
L_3.4_ _ _.   Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.
                                                                              ❑ Contingent
                                                                                                                                                              _-        --
              Addisons
                                                                              ❑ Unliquidated
              Dates) debt was incurred _                                      ❑ Disputed
              Last 4 digits of account number _                               Basis for the claim:

                                                                              is the claim subject to offset? ■ No ❑Yes


f-~
3.5 Nonpriority creditor's name and mailing address
                                          Mountain
                                                                              As of the petition filing date, the claim is: Check all that apply.
                                                                                                                                                    -              -__
                                                                                                                                                          ----$126.85
              Alliance Benefit Group-Rocky                                    ❑Contingent
              7090 South Union Ave. Suite 650                                 ❑ Unliquidated
              Salt Lake City, UT 84047                                        ❑Disputed
              Dates)debt was incurred _                                       Basis for the claim:
              Last 4 digits of account number _
                                                                              Is the claim subject to offset? ~ No ❑Yes

~3.6          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all thatappry.               $102.93
              Alpha Graphics                                                  ❑Contingent
              454 West 800 North                                              ❑ unliquidated
              Orem, UT 84057                                                  ❑Disputed
              Dates) debt was incurred _                                      Basis for the claim:
              Last 4 digits of account number _
                                                                              Is the claim subject to offset? ~ No ❑Yes

 3.7          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.          $40,846.45
                                                                                                                                                                _..__
              American Label                                                  ❑Contingent
              4517 W 1730 S Suite 6416,                                       ❑ Unliquidated
              Salt Lake City, UT 84104                                        ❑Disputed
              Dates) debt was incurred _                                      Basis for the claim:
              Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No ❑Yes

 3.8          Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all char apply.          $33,043.85
              Aries Global Logistics, Inc.                                    ❑ Contingent
              P.O. Box 592                                                    ❑ Unliquidated
              Franklin Square, NY 11010                                           Disputed
              Dates) debt was incurred                                        Basis for the claim:
              Last 4 digits of account number
                                                                              Is the claim subject to offset? ■ No ❑Yes

~3 9     ~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,289.90
                                                                                                                                                          -__
              Aries Global Logistics, Inc.                                    ❑ Contingent
              PO Box 592                                                      ❑ Unliquidated
              Franklin Square, NY 11010                                       ❑ Disputed
              Dates) debt was incurred _                                      Basis for the claim:
              Last 4 digits of account number
                                                                              Is the claim subject to offset? •No ❑Yes




Official Form 206 E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 22

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 Debtor       JN Winddown, LLC                                                                          Case number (~rknown)


03.10     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that appry.            $$,536.53
          Armstrong Transport Group, IItC.                                     ❑Contingent
          PO Box 745100                                                        ❑ Unliquidated
          Atlanta, GA 30374-5100                                               ❑Disputed
          Dates) debt was incurred                                             g~sos far the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ~ No ❑Yes

 3.11     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.          $1$,642.04
          Aspen Press &Packaging                                               ❑Contingent
          3555 West Ninigret Drive Suite 400                                   ❑ Unliquidated
          Salt Lake City, UT 84104                                             ❑Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number _
                                                                               is the claim subject to offset? ~ No ❑Yes

 3.12     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.          $27,095.47
          Australian Taxation Office                                           ❑Contingent
          Locked Bag 1793 Penrith NSW 1793                                     ❑ Unliquidated
          AUSTRALIA                                                            ❑Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number
                                                                               Is the claim subject to offset? ~ No ❑Yes

 3.13     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.   _        $2,843.93_
          AzTech Converting Systems, IIIC.                                     ❑Contingent
          212 West Lodge Drive                                                 ❑ Unliquidated
          Tempe, AZ 85283                                                      ❑Disputed
          Dates) debt was incurred _                                           Basis for the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ■ No ❑Yes

 3.14     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.          $25,431.70
                                                                                                                                                                __ ______
          Bellstar Marketing, Inc                                              ❑ Contingent
          3476 Rich Field Drive                                                ❑ Unliquidated
          Carlsbad, CA 92010                                                   ~ Disputed
          Dates) debt was incurred _
                                                                               Basis for the claim:
          Last 4 digits of account number
                                                                               Is the claim subject to offset? ❑ No ■Yes

 3.15     Nonpriority creditor's name and mailing address                      As of the petition filing date, the Claim is: Check all that apply.                $F)7.50
          Bennett-Tueller Johnson &Deere                                       ❑ Contingent
          3165 East Millrock Drive Ste 500                                     ❑ Unliquidated
          Salt Lake City, UT 84121-4704                                        ❑ Disputed
          Dates) debt was incurred _                                           Basis for the claim:
          Last 4 digits of account number
                                                                               Is the claim subject to offset? ■ No ❑Yes

                                                                                                                                                                    23.00
03.16    I Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check au that apply.
          Best Shred                                                           ❑ Contingent
          5406 W 11000 N Ste 103 PMB #542                                      ❑ Unliquidated
          Highland, UT 84003                                                   ❑ Disputed
          Dates) debt was incurred _                                           Basis for the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ■ No ❑Yes




Official Form 206 E/F                                           Schedule EIF: Creditors Who Have Unsecured Claims                                             Page 5 of 22

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 Debtor       ~N Winddown, LLC                                                                        Case number (if known)


 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $79.00
          Blomquist Hale Consulting Group, InC.                               ❑Contingent
          860 East 4500 South Suite 202                                       ❑ Unliquidated
          Salt Lake City, UT 84107                                            ❑Disputed
          Dates) debt was incurred _
                                                                              Basis for the claim;
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $x,290.95
          Boise Packaging &Newsprint, LLC                                     ❑Contingent
          PO Box 51655                                                        ❑ unliquidated
          Los Angeles, CA 90051-5955                                          ❑Disputed
          Dates) debt was incurred
                                     —                                       Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? S No ❑Yes

-- —
3.19      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all thatappry.                  $1,804.2$
          Bourne &Weir                                                        ❑Contingent
          11/50 Market St,                                                    ❑ Unliquidated
          Melbourne VIC 3000                                                  ❑Disputed
          AUSTRALIA
                                                                             Basis for the claim:
          Dates) debt was incurred _
          Last 4 digits of account number _                                  Is the claim subject to offset? ■ No ❑Yes


 3 20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $$,409.60
                                                                                                                                                   ---                  —-
          BPI Labs,(nC.                                                      ❑Contingent
          97 S. Red Willow Rd                                                ❑ unliquidated
          Evanston, WY 82930                                                 ❑Disputed
          Dates) debt was incurred
                                     —                                       Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ■ No ❑Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     977.91
          Brady Industries, LLC                                              ❑ Contingent
          7055 Lindell Road                                                  ❑ Unliquidated
          Las Vegas, NV 89118                                                ❑ Disputed
          Dates)debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $544.00
          Cactus & Tropicals                                                 ❑ Contingent
          2735 S 2000 E                                                      ❑ Unliquidated
          Salt Lake City, UT 84109                                           ❑ Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?•No ❑Yes

 323 ]Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Chec!<all that apply.                $39,249.91
                                                                                                                                                         __ —
          CasePak, Inc.                                                      ❑ Contingent
          228 West 12300 South Suite 101                                     ❑ Unliquidated
          Draper, UT 84020                                                   ❑ Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes




Official Form 206 E/F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                                  Page 6 of 22
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 Debtor      ~N Winddown, LLC                                                                         Case number (if known)


324       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $530.22
          Centurylink Communications                                         ❑ Contingent
          100 Centurylink Drive                                              ❑ Unliquidated
          Monroe, LA 71203                                                      Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $65,721.96
          Cerberus Business Finance, LLC                                     ❑ Contingent
          875 Third Avenue 14th Floor                                        ❑ Unliquidated
          New York, NY 10022                                                 ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?•No ❑Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,050.00
          Certified Shred                                                    ❑Contingent
          537 West Pickett Circle Suite 600                                  ❑ Unliquidated
          Salt Lake City, UT 84115                                           ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? S No ❑Yes
_. --
3.27  Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.               1,044.68
          Cigna Health and Life Insurance Company                            ❑Contingent
          PO Box 13701                                                       ❑ Unliquidated
          Philadelphia, PA 19101-3701                                        ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $Z~I.00
          Clarivate Analytics dba Compumark                                  ❑Contingent
          1500 Spring Garden Street                                          ❑ Unliquidated
          Philadelphia, PA 19130                                             ❑Disputed
          Dates) debt was incurred                                           Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.29 ,Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.                 359.00
          Colonial Life Processing Center                                    ❑Contingent
          P.O. Box 1365                                                      ❑ Unliquidated
          Columbia, SC 29203                                                 ❑ oisPuced
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appry,           $22,2$7.25
                                                                                                                                                   --            — _. _- -
          Cosmetic Design Group, LLC                                         ❑contingent
          5673 Selmaraine Drive                                              ❑ Unliquidated
          Culver City, CA 90230                                              ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes




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 Debtor      JN Winddown_ LLC                                                                         Case number (.f known)
              Name

3.31       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $58,023.96
           Cosmetic Industries, Inc                                          ❑ Contingent
           13489 Slover Ave.                                                 ❑ Unliquidated
           Fontana, CA 92337                                                 ~ Disputed
           Dates) debt was incurred _                                        Basis far the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3.32       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply                $1,397.48
__..__--
           CT Leasing, LLC                                                   ❑ Contingent
           P.O. Box 84                                                       ❑ Unliquidated
           Boise, ID 83701                                                   ❑ Disputed
           Dates) debt was incurred                                          Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


3.33       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $29,002.41
           CTL Packaging USA, Inc                                            ❑ Contingent
           PO Box 603754                                                     ❑ Unliquidated
           Charlotte, NC 28260-3754                                          ❑ Disputed
           Dates)debt was incurred _                                         Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,642.34_
           DGI Training Inc.                                                 ❑ Contingent
           1060 EI Camino Real Suite C                                       ❑ Unliquidated
           Redwood City, CA 94063                                            ❑ Disputed
           Dates) debt was incurred                                          Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $34,883.04
                                                                                                                                                   ----              ---
           DHL eCommerce                                                     ❑Contingent
           200 C. Commerce Parkway                                           ❑ Unliquidated
           Suite 300                                                         ❑Disputed
           Fort Lauderdale, FL 33331
                                                                             Basis for the claim:
           Dates) debt was incurred
                                                                             Is the claim subject to offset? ■ No ❑Yes
           Last 4 digits of account number

 3.36 , Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Checka~l that apply.            $441,104.27
           DHL eCommerce                                                        Contingent
           2700 C. Commerce Parkway Suite 300                                ❑ Unliquidated
           Weston, FL 33331                                                     Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.37 ~ Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.             $"I 5,500.01
           DHL Express -USA                                                  ❑ Contingent
           16592 Collections Center Drive                                    ❑ Unliquidated
           Chicago, IL 60693                                                 ❑ Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number __
                                                                             Is the claim subject to offset? ■ No ❑Yes




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 Debtor       ~N Winddown, LLC                                                                       Case number (if known)                       _...._..   __._                __...._..-----
              Name
 3.38 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check au that apply.      --...._                  $4,904.96
           DHL Express Mexico S.A de C.V                                    ❑Contingent
           Montes Urales 505 Piso 2 Lomas de Chapul                         ❑ Unliquidated
           Miguel Hidalgo DF 11000                                          ❑Disputed
           MEXICO
                                                                            Basis for the claim:
           Dates)debt was incurred
           Last 4 digits of account number _                                Is the claim subject to offset? ~ No ❑Yes


 3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                            $12,709.95
           DHL Metropolitan Logistics
           Montes Urales 505 Piso 2                                         ❑Contingent
           Lomas de Chapultepec 1 Seccion                                   ❑ Uniiquidated
           Miguel Hidalgo DF 11000                                          ❑Disputed
           MEXICO
                                                                            Basis for the claim:
           Dates)debt was incurred _
           Last 4 digits of account number _                                Is the claim subject to offset? ~ No ❑Yes


3 40       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                            $23,255.10
           Direct Selling. Australia
           207/13A Montegomery Street                                       ❑Contingent
           PO BOX 744                                                       ❑ Unliquidated
           Kogarah NSW 2217                                                 ❑ors       uted
           AUSTRALIA                                                               p
                                                                            Basis for the claim:
           Da4e(s) deb4 was incurred _
           Last 4 digits of account number _                                Is the claim subject to offset? ~ No ❑Yes


_3.41__    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all thatappry.                      _      $94,811.36
           Disney Consumer Products                                         ❑Contingent
           500 Southe Buena Vista Street                                    ❑ Unliquidated
           Burbank, CA 91521-8171                                           ❑Disputed
           Dates) debt was incurred _                                       Basis for the claim:
           Last 4 digits of account number _
                                                                            Is the claim subject to offset? ■ No ❑Yes

 3.42      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.42,206.29
           Domo, Inc.                                                       ❑ Contingent
           772 E Utah Valley Drive                                          ❑ Unliquidated
           American Fork, UT 84003                                          ❑ Disputed
           Dates)debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                            Is the claim subject to offset? •No ❑Yes

 3.43      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                              18.785.88
           Drive Marketing                                                  ❑ Contingent
           8689 South 700 West                                              ❑ Unliquidated
           Sandy, UT 84070                                                  ❑ Disputed
           Dates)debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                            1s the claim subject to offset? ■ No ❑Yes

~ 3 44    , Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                              $3,635.07
           Driver Provider Phoenix                                          ❑ Contingent
           3439 South 40th Street                                           ❑ Unliquidated
           Phoenix, AZ 85040                                                ❑ Disputed
           Dates) debt was incurred _                                       Basis for the claim:
           Last 4 digits of account number
                                                                            Is the claim subject to offset? ■ No ❑Yes




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 Debtor       ~N Winddown, LLC                                                                        Case number (if known)
              Name
3.45       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,937.50
           DST Express LLC                                                   ❑ Contingent
           DST Express LLC P.O. Box 503                                      ❑ Unliquidated
           Springville, UT 84663                                                Disputed
           Dates)debt was incurred _                                         Basis far the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?•No ❑Yes


~3A6~ Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.                $11,114.13
          Eden Roc, LLP                                                      ❑ Contingent
          4525 Collins Ave                                                   ❑ Unliquidated
          Miami Beach, FL 33140-3226                                         ❑ Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3.47       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 38,312.17
           Ernest Packaging Solutions                                        ❑ Contingent
           PO Box 27086                                                      ❑ Unliquidated
           Salt Lake City, UT 84127                                          ❑ Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

—.._...
3.48    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.                  ~2,50~.~~
           Ernst &Young LLP                                                  ❑ Contingent
           Wells Fargo Bank, NA PO Box 846793                                ❑ Unliquidated
           Los Angeles, CA 90084-6793                                        ❑ Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? S No ❑Yes

3.49      ~ Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $2,062.50
           Esonus, LLC                                                       ❑ Contingent
           12171 Pineridge Road                                                  Unliquidated
           Sandy, UT 84094                                                   ❑ Disputed
           Dates) debt was incurred _                                        Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes


 3.50__   J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   __ ___-    $~2~,$27.37
           FDM Warehousing                                                   ❑ Contingent
           7 Eucalyptus Place                                                ❑ Unliquidated
           Eastern Creek NSW 2766 Sydney                                     ❑ Disputed
           AUSTRALIA
                                                                             Basis for the claim:
           Dates) debt was incurred _
                                                                             Is the claim subject to offset? ■ No ❑Yes
           Last 4 digits of account number _

_3.51      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $124.59
           Flexco Concepts                                                   ❑ Contingent
           100 Armstrong Rd Ste 103                                          ❑ Unliquidated
           Plymouth, MA 02360                                                ❑ Disputed
           Dates)debt was incurred _                                         Basis for the claim:
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes




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 Debtor      .IN Winddown. LLC                                                                        Case number (if known
             Name
3.52      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $4,701.23
 _.__
          Go-2 Fulfillment                                                   ❑ Contingent
          12248 S. Lone Peak Parkway Suite 106                               ❑ Unliquidated
          Draper, UT 84020                                                   ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


3.53      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appty.            957.33
__-
          Gowling WLG Canada
          1 First Canadian Place,                                            ❑ Contingent
          100 King St. W,Ste 1600                                            ❑ Unliquidated
          Toronto Ontario M5X 1G5                                            ❑ Disputed
          CANADA
                                                                             Basis for the claim:
          Dates)debt was incurred
                                                                             Is the claim subject to offset? ■ No ❑Yes
          Last 4 digits of account number _


r35~ Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.          $4H9.33
          Cowling WLG UK LLP                                                 ❑Contingent
          4 More London Riverside,                                           ❑ Unliquidated
          London SE1 2AU                                                     ❑ Disputed
          UK
                                                                             Basis for the claim:
          Dates) debt was incurred _
                                                                             Is the claim subject to offset? ~ No ❑Yes
          Last 4 digits of account number _

3.55      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,625.,00
          Green Frog Cleaning                                                ❑Contingent
          1001 West 1020 South                                               ❑ Unliquidated
          Provo, UT 84601                                                    ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ~ No ❑Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,712.87
          Hanchett Paper Company dba Shorr Packagi                           ❑ cont~r,9er,t
          4000 Ferry Road                                                    ❑ Unliquidated
          Aurora, IL 60502                                                   ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? S No ❑Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,$$~.~~
          Haysmacintyre                                                      ❑ Contingent
          26 Red Lion ~q~aare Condon WC1 R 4AG                               ❑ Unliquidated
          UNITEDKINGDOM                                                      ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset?•No ❑Yes

3.5~ Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.        $5,460.47
          HOJ Engineering &Sales., LLC                                       ❑ Contingent
          862 Fine Drive                                                     ❑ Unliquidated
          Salt Lake City, UT 84119                                           ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim
          Last 4 digits of account number _
                                                                             is the claim subject to offset?•No ❑Yes




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 Debtor      .IN Winddnwn_ LLC                                                                          Case number (if known)
             Name
 3.59     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.      $16,490.90
          Hudson Printing Company                                              ❑ Contingent
          241 West 1700 South                                                  ❑ Unliquidated
          Salt Lake City, UT 84115                                             ❑ Disputed
          Dates) debt was incurred _                                           Basis for the clzim:
          Last A digits of account number _
                                                                               Is the claim subject to offset? ~ No ❑Yes

 3.60     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.      $46,928.90
          Indigo America, Inc.                                                 ❑ Contingent
          P.O. Box 415573                                                      ❑ Unliquidated
          Boston, MA 02241-5573                                                ❑ Disputed
          Dates)debt was incurred                                              Basis for the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ~ No ❑Yes


13.61     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.
                                                                               ❑Contingent
                                                                                                                                                              290.00
          InetZ
          1055 East 3900 South                                                 ❑ unliquidated
          Salt Lake City, UT 84124                                             ❑Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number
                                                                               is the claim subject to offset? ■ No ❑Yes

 3_62     Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.        $~ X780.77
          IntegraCore Fulfillment, LLC                                         ❑Contingent
          6077 West Wells Park Road                                            ❑ Unliquidated
          West Jordan, UT 84081                                                ❑Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number
                                                                               Is the claim subject to offset? ~ No ❑Yes

 3.63      Nonpriority creditor's name and mailing address                     As of 4he petition filing date, the claim is: Check all thatappry.      _ $1,783.60
          Intermountain Staffing                                               ❑Contingent
          PO Box 540587 fVorth                                                 O Unliquidated
          Salt Lake City, UT 84054                                             ❑Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ■ No ❑Yes

 3.64      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.          $370.00
          International Paper                                                  ❑ Contingent
          PO Box 31001-0780                                                    ❑ Unliquidated
          Pasadena, CA 91110-0780                                              ❑ Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number _
                                                                               Is the claim subject to offset? ■ No ❑Yes

 3.65 ~ Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check au that apply.         $1,075.00
   --
          J Tedeschi &Associates LLC                                           ❑ Contingent
          8240 Lakewood Ranch Blvd 102                                         ❑ Unliquidated
          Lakewood Ranch, FL 34202                                             ❑ Disputed
          Dates)debt was incurred _                                            Basis for the claim:
          Last 4 digits of account number
                                                                               Is the claim subject to offset? ■ No ❑Yes




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 Debtor       ~N Winddown, LLC                                                                        Case number (if known)


 3.6~ Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check ail that apply.          $3,964.28
          Kelly Services, Inc.                                               ❑ Contingent
          999 W. Big Beaver Road                                             ❑ Unliquidated
          Troy, MI 48084                                                     ❑ Disputed
          Dates)debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all tnat appry.          $1,121.75
          Kocher +Beck                                                       ❑ Contingent
          PO Box 843332                                                      ❑ Unliquidated
          Kansas City, MO 64184-3332                                         ❑ Disputed
          Dates)debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             ~'I Q.2.6~
          Landmark Global                                                    ❑Contingent
          P.O. Box 101842                                                    ■ Unliquidated
          Pasadena, CA 91189-1842                                            ❑Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.69__J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check au that apply.    __ $285,559.44
          Landmark Global                                                    ❑Contingent
          PO Box 101842                                                      ❑ unliquidated
          Pasadena, CA 91189-1842                                            ❑Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $$,282.15
          Launch Sourcing LLC                                                ❑ Contingent
          2153 South Remington Ave                                              Unliquidated
          Saratoga Springs, UT 84045                                         ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $63.96
          Les Olson Company                                                  ❑ Contingent
          3244 S 300 W                                                       ❑ Unliquidated
          Salt Lake City, UT 84115                                           ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check au that apply.             $499.46
          Lex Jet                                                            ❑ Contingent
          P.O. Box 538577                                                    ❑ Unliquidated
          Atlanta, GA 30353-8577                                             ❑ Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes




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             Name
3.73      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,912.04
          Logistic Centre Weert B.V                                          ❑Contingent
          B.V Havenweg 16,                                                   ❑ Unliquidated
          6006 SM Weert GB 232 1038 6                                        ❑Disputed
          UNITEDKINGDOM
                                                                             Basis far the ciairi:
          Dates) debt was incurred _
                                                                             Is the claim subject to offset? ~ No ❑Yes
          Last 4 digits of account number _

                                                                             As of the petition filing date, the claim is: Check all that apply.
J 3.74    Nonpriority creditor's name and mailing address
                                                                             ❑ co~t~~gent
                                                                                                                                                           $$2,169.69
          Logistic Centre Weert B.V.
          Havenweg 16 6006 SM                                                ❑ Unliquidated
          Weert GB 232 1038 6 United Kingdom                                 ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

                                                                             As of the petition filing date, the claim is: Check all that appry.
L_~
3.75 Nonpriority creditor's name and mailing address                                                                                                        $8,78.25
                                                                                                                                                             -
          Maco Customs   Service                                             ❑ cont~~ge~t
          Netherlands B.V., Schepersweg 4B                                   ❑ Unliquidated
          6049 CV Roermond                                                   ❑Disputed
          NETHERLANDS
                                                                             Basis for the claim:
          Dates)debt was incurred _
                                                                             Is the claim subject to offset? ~ No ❑Yes
          Last 4 digits of account number _

 3.76 ,Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.           $73,809.76
                                                                                                                                                   _ _-—        --
          Madison/Graham Colorgraphics, Inc                                  ❑Contingent
          P.O. Box 31001-1283                                                D Unliquidated
          Cenveo Corp                                                        ❑Disputed
          Pasadena, CA 91110-1283
                                                                             Basis for the claim:
          Dates) debt was incurred _
                                                                             Is the claim subject to offset? ~ No ❑Yes
          Last 4 digits of account number _

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          Maven Technologies Inc.                                            ❑ cont~ngenc
          540 Hill Street #1                                                 ❑ Unliquidated
          San Francisco, CA 94114                                            ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check au that apply.              0,883.67
          McConnell                                                          ❑ Contingent
          406 SW Umatilla Ave                                                ❑ Unliquidated
          Redmond, OR 97756                                                  ~ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

  ___ .
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Checl<allthat appty.                 542.30
          Memery Crystal                                                     ❑ Contingent
          165 Fleet Street,                                                  ❑ Unliquidated
          London EC4A 2DY                                                    ❑ Disputed
          UK
                                                                             Basis for the claim:
          Dates) debt was incurred
                                                                             Is the claim subject to offset? ■ No ❑Yes
          Last 4 digits of account number _




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  Debtor       ~N Winddown, LLC                                                                          Case number (if known)


 3.80      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,019.89
           Miner Group                                                        ❑ Contingent
           11905 Sara Road EI Portal Industrial Par                           ❑ Unliquidated
           Laredo, TX 78045                                                   ❑ Disputed
           Dates)debt was incurred _
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset? ~ No ❑Yes

 3.81      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $50.00
           National Benefit Services, LLC                                     ❑ Contingent
           PO Box 6980                                                        ❑ Unliquidated
           West Jordan, UT 84084                                              ❑ Disputed
           Dates) debt was incurred _
                                                                              Basis for the claim:
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? ~ No ❑Yes

 _3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,191.28
           Nexeo Staffing LLC                                                 ❑ Contingent
           2912 Executive Parkway Suite 175                                   ❑ Unliquidated
           Lehi, UT 84043                                                     ❑ Disputed
           Dates)debt was incurred _
                                                                              Basis for the claim:
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? ~ No ❑Yes

 3.83      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $60,~~0.0~
           NFL Properties, LLC                                                ❑Contingent
           PO BOX 27278                                                       ❑ Unliquidated
           New York, NY 10087-7278                                            ❑Disputed
           Dates)debt was incurred _
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset? O No ❑Yes

     --
 3 84   Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.        $8,287.46
           Niya Model Management                                              ❑ cor,t~r,ger,t
           150 South State Street Suite 100                                   ❑ Unliquidated
           Salt Lake City, UT 84111                                           ❑Disputed
           Dates) debt was incurred _
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset? ~ No ❑Yes

 3.85      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,846.60
           Okta, IIIC.                                                        ❑Contingent
           301 Brannan Street Ste 900                                         ❑ Unliquidated
           San Francisco, CA 94107                                            ❑Disputed
           Dates) debt was incurred _
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.86      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that appry.       $$0,474.53
          Oracle                                                             ❑Contingent
          15612 Collections Centre Drive                                      ❑ Unliquidated
          Bronto Software, LLC                                               ❑Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
           Dates) debt was incurred _                                                                —
           Last 4 digits of account number                                   Is the claim subject to offset? ■ No ❑Yes




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Debtor                                                                                                Case number (if known)
             ~N Winddown, LLC

3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $2.93
         Orkin Pest Control                                                  ❑ Contingent
         PO Box 7161                                                         ❑ Unliquidated
         Pasadena, CA 91109-7161                                             ❑ Disputed
         Dates) debt was incurred _                                          Basi= for the claim:
         Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


3.88     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   845.17
         Packaging Corporation of America                                    ❑ Contingent
         1955 West Field Court                                               ❑ Unliquidated
         Lake Forest, IL 60045                                               ❑ Disputed
         Dates)debt was incurred                                             Basis for the claim:
         Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


x3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   _____     _._$6,7~4.OU
         Parsons Behle &Latimer                                              ❑Contingent
         201 South Main Street Suite 1800                                    ❑ Unliquidated
         Salt Lake City, UT 84111                                            ❑Disputed
         Dates) debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes


_3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  ~3J4.O5

         Pepsi Cola of Springville                                           ❑ Contingent
         940 Spring Creek PI                                                 ❑ Unliquidated
         Springville, UT 84663-3054                                          ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? S No ❑Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $18,845.00

          Photofy, Inc.                                                      ❑ Contingent
          2138 Pine Drive                                                    ❑ Unliquidated
          Raleigh, NC 27608                                                  ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


 3.92 ]Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.   -_.__       $9,006.11
                                                                                                                                                                     __
          PhotoShelter, Inc.                                                 ❑ Contingent
          33 Union Square West 2/F                                           ❑ Unliquidated
          New York, NY 10003                                                 ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check au that apply.                $1,060.98
          Pitney Bowes Global Financial Services L                           ❑ Contingent
          PO Box 371887                                                      ❑ Unliquidated
          Pittsburgh, PA 15250-7887                                          ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes




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 Debtor        ~N Winddown, LLC                                                                       Case number (if known)

--                                                                           As of the petition filing date, the claim is: Check all that apply.        $25,924.78
3.94           Nonpriority creditor's name and mailing address
    ..........
            RBM Services                                                     ❑ Contingent
            1515 N Riverside Ave.                                            ❑ Unliquidated
            Provo, UT 84604                                                  ❑ Disputed
            Dates) debt was incurred _                                       Basis for the claim:
            Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

3.95       ~ Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.        $1,294.33
                                                                                                                                                   -_ --       ---
            Recycling Network Europe                                         ❑Contingent
            Rene AG Headquarter Steinrinnenweg 1+6                           ❑ Unliquidated
            D-87745 Eppishausen                                              ❑Disputed
            EUROPE
                                                                             Basis for the claim:
            Dates) debt was incurred
            Last 4 digits of account number _                                Is the claim subject to offset? ~ No ❑Yes


3.96        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $115.19
--_ ____
            Republic Services                                                ❑ Contingent
            PO Box 78829                                                     ❑ Unliquidated
            Phoenix, AZ 85062-8829                                           ❑ Disputed
            Dates)debt was incurred _                                        Basis for the claim:
            Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3.97   Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.            $H34.ZH
  _ --
            Revco Leasing Company                                            ❑ Contingent
            P.O. Box 65598                                                   ❑ Unliquidated
            Salt Lake City, UT 84165-0598                                    ❑ Disputed
            Dates)debt was incurred _                                        Basis for the claim:
            Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3.98        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $19.99
            Ricoh USA, III C.                                                ❑Contingent
            PO Box 660342                                                    ❑ unliquidated
            Dallas, TX 75266-0342                                            ❑Disputed
            Dates) debt was incurred _                                       Basis for the claim:
            Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

3.99        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $735.32
            RME,INC                                                          ❑ Contingent
            PO Box 608                                                       ❑ Unliquidated
            Meridian, ID 83680                                               ❑ Disputed
            Dates) debt was incurred                                         Basis for the claim:
            Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes

3.100       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              549.84
           RNH, LLC                                                          ❑ Contingent
           428 S 1400 E                                                      ❑ Unliquidated
           Fruit Heights, UT 84037                                           ❑ Disputed
            Dates) debt was incurred _                                       Basis for the claim:
            Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes




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 Debtor      ~N Winddown, LLC                                                                        Case number (if known)


 3.101    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $8,350.54
          Rocky Mountain Power                                              ❑ Contingent
          PO Box 26000                                                      ❑ Unliquidated
          Portland, OR 97256-0001                                           ❑ Disputed
          Dates)debt was incurred _                                         Bases for the claim:
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.102    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $~,600.0~
          Shawlite Inc.                                                     ❑.Contingent
          3143 S Trailblazer                                                ❑ Unliquidated
          West Valley, UT 84128                                             ❑ Disputed
          Dates) debt was incurred _
                                                                            Basis for the claim:
          Last 4 digits of account number _
                                                                            is the claim subject to offset? ~ No ~ Yes

 3.103 ~ Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appry.        $$,030.84
          Simply Toner LLC                                                  ❑Contingent
          1258E 2050 N                                                      ❑ Unliquidated
          Lehi, UT 84043                                                    ❑Disputed
          Dates) debt was incurred _                                        Basis for the claim:
          Last 4 digits of account number _
                                                                            is the claim subject to offset? ■ No ❑Yes

 3_.104   Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $2,888.28
          Squire                                                            ❑ Contingent
          1329 South 800 East                                               ❑ Unliquidated
          Orem, UT 84003-3366                                               ❑ Disputed
          Dates)debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ~ No ❑Yes

 3.105    Nonpriority creditor's name and mailing address                   As of 4he pe4ition filing date, 4he claim is: Check all that apply.      $35,774.97
          Synergy North America Inc.                                        ❑ Contingent
          10901 W. 120th Avenue Suite 240                                   ❑ Unliquidated
          Broomfield, CO 80021                                              ❑ Disputed
          Dates) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ■ No ❑Yes

 3.106    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $23,268.30
          Talkdesk, Inc.                                                    ❑ Contingent
          535 Mission Street 12th Floor                                     ❑ Unliquidated
          San Francisco, CA 94105                                           ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim:
          Last 4 digits of account number _
                                                                            Is the claim subject to offset? ■ No ❑Yes

 3.107,Nonpriority creditor's name and mailing address
      _~
                                                                            As of the petition filing date, the claim is: Cneck au that apply.         $9,273.80
          The Hanover Insurance Group                                       ❑ Contingent
          0228 PO Box 580045                                                ❑ Unliquidated
          Charlotte, NC 28258                                               ❑ Disputed
          Dates) debt was incurred _                                        Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?•No ❑Yes




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 Debtor       ~N Winddown, LLC                                                                        Case number (if known)


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all mat apply.       $20,090.00
          The Regulatory Department                                          ❑ Contingent
          1478 N 280 W                                                       ❑ Unliquidated
          Orem, UT 84057                                                     ❑ Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

---
3.109     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that appry.        $5,716.00
          The Travelers Indemnity Company                                    ❑Contingent
          0229 PO Box 660317                                                 ❑ Unliquidated
          Dallas, TX 75266-0317                                              ❑Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

-- —
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the Claim is: Check all that apply.           ~4~ 7.47
          Treasure Valley Coffee, Inc                                        ❑Contingent
          P.O. Box 71613                                                     ❑ unliquidated
          Salt Lake City, UT 84171                                           ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,535.61
          U1111e, INC.                                                       ❑Contingent
          PO Box 88741                                                       ❑ unliquidated
          Chicago, IL 60680-1741                                             ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,888.78
          UPS                                                                ❑Contingent
          LOCkboX 577                                                        ~ Unliquidated
          Carol Stream, IL 60132-0577                                        ❑Disputed
          Dates) debt was incurred _
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             is the claim subject to offset? ~ No ❑Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all char apply.              $1.85
          UPS Supply Chain Solutions, Inc.                                   ❑ Contingent
          28013 iVetwork Place                                               ❑ Unliquidated
          Chicago, IL 60673-1280                                             ❑ Disputed
          Dates) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes

 3.114 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Ched<au that appry.          $2,012.50
          Urban Model and Film Management, Inc.                              ❑ Contingent
          718 N 300 W                                                        ❑ Unliquidated
          Salt Lake City, UT 84103                                           ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes




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Debtor       ~N Winddown, LLC                                                                          Case number (if known)


3.11      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check au that apply.          $2,633.57
         Vasa Fitness                                                        ❑ Contingent
         9815 S Monroe Street #103                                           ❑ Unliquidated
                                                                             ❑ Disputed
         Sandy, UT 84070
                                                                             Basis fir fi5e ciaii~~:
         Dates) debt was incurred _
                                                                             Is the claim subject to offset? ■ No ❑Yes
         Last 4 digits of account number _

3.116     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all Char apply.        $14,590.39
         Veracity                                                            ❑Contingent
         170 Election Road, Ste 200                                          ❑ Unliquidated
         Draper, UT 84020-6420                                               ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ■ No ❑Yes

 --                                                                          As of the petition filing date, the claim is: Check all that apply.          45,629.3
3.117~ Nonpriority creditor's name and mailing address                                                                                                        -.. __
                                                                                                                                                   --
         Vox Marketing Group                                                 ❑Contingent
         2222 South 950 East                                                 ❑ unliquidated
         Provo, UT 84606                                                     ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes
--            __          _
 3.118 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.        $206,280.50
          Vox Marketing Group                                                ❑Contingent
          2222 South 950 East                                                ❑ unliquidated
          Provo, UT 84606                                                    ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes


3.119     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $69.94
C ._
          Walt Disney Company Pty Ltd                                        ❑ cor,t~n9ent
          South Yarra                                                        ❑ Unliquidated
          Melbourne, VIC 3141                                                ❑Disputed
          AUSTALIA
                                                                             Basis for the claim:
          Dates)debt was incurred _
                                                                             Is the claim subject to offset? ■ No ❑Yes
          Last 4 digits of account number _

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all thatappry.          $5$,021.40
                                                                                                                                                             -___-
          Wisconsin Depar#men4 of Revenue                                    ❑ Contingent
          2135 Rimrock Rd.                                                   ❑ Unliquidated
          P.O. Box 8907                                                      ~ Disputed
          Madison, WI 53708-8907
                                                                             Basis for the claim:
          Dates) debt was incurred 12/31/13 to 12/31/15
          Last 4 digits of account number                                    Is the claim subject to offset? ■ No ❑Yes


  .121 ~ Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Cneckall thatappry.            $1,996.93
          Workers Compensation Fund                                          ❑ Contingent
          PO Box 26488                                                       ❑ Unliquidated
          Payment Processing Center                                          ❑ Disputed
          Salt Lake City, UT 84126-0488
                                                                             Basis for the claim:
          Dates) debt was incurred _
                                                                             Is the claim subject to offset? ■ No ❑Yes
          Last 4 digits of account number
                                                              __




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 Debtor      .IN Winddnwn. LLC                                                                        Case number (if known
             Name
 ,3.122   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       ______         $3,956.88
                                                                                                                                                                           __
          Workman Nydegger                                                   ❑ Contingent
          60 East South Temple Suite 1000                                    ❑ Unliquidated
          Salt Lake City, UT 84111                                           ~ Disputed
          Dates) debt was incurred                                           Basis for Lhe claEm:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $25,761.57
          World Pay                                                          ❑ Contingent
          201 17th St NW #1000                                               ❑ Unliquidated
          Atlanta, GA 30363                                                  ❑ Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             is the claim subject to offset? ~ No ❑Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $6,322.30
          WSRP                                                               ❑Contingent
          155 N 400 W,Suite 400                                              ❑ Unliquidated
          Salt Lake City, UT 84103                                           ❑ Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3_125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $17,012.92
          Wynright Corporation                                               ❑Contingent
          2500 York Road                                                     ❑ Uniiquidated
          Elk Grove, IL 60007                                                ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ~ No ❑Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $15,347.81
          YRC Freight(RDWY)                                                  ❑Contingent
          P.O. fox 730375                                                    ❑ unliquidated
          Dallas, TX 75373-0375                                              ❑Disputed
          Dates)debt was incurred _                                          Basis for the claim:
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No ❑Yes


0127 , Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is: Check all that apply.                       ~ 2,681.55
          ZenPrint                                                           ❑Contingent
          1825 S East Bay Blvd                                               ❑ Un~iquidated
          Provo, UT 84606                                                    ❑Disputed
          Dates) debt was incurred                                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes

~ 3.128   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     ~3F),983.54
                                                                                                                                                   —     - ..._      --
          Zion's Commercial Card Services                                    ❑Contingent
          1 Main St,                                                         ❑ Unliquidated
          Salt Lake City, UT 84133                                           ❑Disputed
          Dates) debt was incurred _                                         Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset? ■ No ❑Yes



 •.           List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F                                         Schedule EIF: Creditors Who Have Unsecured Claims                                                        Page 21 of 22

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  Debtor      ~N Winddown, LLC                                                                    Case number (if known)



           Name and mailing address                                                              On which lime in Part4 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (ifi any)listed?             account number, ~f
                                                                                                                                               any

              Tota! ^maurets of the Priority anc! Norepriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Tvtal of claim amounts
 5a. Tc:a! claErns'ro:: Pa:: 1                                                                      5a.      ~                       6~,r+S7.v'~
 Sb. Total claims from Part 2                                                                       5b. +    $                   2,900,861.65

 Sc. Total of Parts 1 and 2                                                                         5~       $
      Lines 5a + 5b = 5c.                                                                                                           2,966,348.66




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 22
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 Debtor name        JN Winddown, LLC

 United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                            ❑ Check if this is an
                                                                                                                              amended filing


Utticiai I=orm 2U~v
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      ❑ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets -Real and Personal          Property
(Official Form 206A/B).

 2. List a31 contracts and unexpired leases                                        State the name and rrtaiting address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpirQd
                                                                                   tease

 2.1.        State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 open
                                                                                       Bellstar Marketing, Inc.
             List the contract number of any                                           3466 Voyager Circle
                   government contract                                                 San Diego, CA 92130



 22.         State what the contract or                   Payment Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       Braintree
                 State the term remaining                 open                         PayPal, Inc.
                                                                                       Attn: Legal Department
             List the contract number of any                                           2211 North First Street
                   government contract                                                 San Jose, CA 95131



 2.3.        State what the contract or                   Music License
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Expires 12/31/2018
                                                                                       Broadcast Music, Inc.
                                                                                       10 Music Square East
             List the contract number of any
                   government contract                                                 Nashville, TN 37203-4399



 2.4.        State what the contract or                   Live Performance and
             lease is for and the nature of               Instructional Services
             the debtor's interest                        Agreement

                  State the term remaining                open
                                                                                       Caleb Marshall
             List the contract number of any                                           P.O. Box 36708
                   government contract                                                 Los Angeles, CA 90036




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 6
                                                                                                                                         Best Case Bankruptcy
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 Debtor 1 JN Winddown, LLC                                                                              Case number ~rrknown~
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases


2. List all contracts and unexpired leases                                                State the name and mailing address far ail other parties with
                                                                                          v3rhom the debtor has an executory contract or unexpired
                                                                                          lease

 G.J.        Jtate what tiiE COfiii'c'i. CtJi             lilt@i"il^ci .~'^ci`Jlic
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                 Expires 6/21/2019                    Centurylink
                                                                                                931 14th Street
             List the contract number of any                                                    #900
                   government contract                                                          Denver, CO 80202



2.6.         State what the contract or                   Internet Service
             lease is for and the nature of               Agreements
             the debtor's interest

                  State the term remaining                 Expires 7/19/2019                    Comcast
                                                                                                Attn: Legal Dept.
             List the contract number of any                                                    1701 John F. Kennedy Blvd.
                   government contract                        _ __                              Philadelphia, PA 19103-2838


2.7          State what the contract or                    Master Supply
             lease is for and the nature of                Agreement
             the debtor's interest

                  State the term remaining                 open
                                                                                                Cosmetic Industries, Inc.
             List the contract number of any                                                    13489 Slover Ave., #A
                   government contract                                                          Fontana, CA 92337


             State what the contract or                   Printer Lease
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                 Expires 12/28/2019                   De Lage Laden Financial Services, Inc.
                                                                                                Lease Processing Center
             List the contract number of any                                                    1111 Old Eagle School Road
                   government contract                                                          Wayne, PA 19087


 2.9.        State what the contract or                    Customer Services
             lease is for and the nature of                Agreement dated
             the debtor's interest                         November 1, 2016

                  State the term remaining                 Expires 5/5/2020                     DHL ECommerce(US 3PL)
                                                                                                2700 South Commerce Parkway
             List the contract number of any                                                    Suite 300
                   government contract                                                          Fort Lauderdale, FL 33331


 2.10.       State what the contract or                    MLM Association
             lease is for and the nature of                Agreement
             the debtor's interest

                  State the term remaining                expires 4/30/2019                     Direct Selling Association US
                                                                                                1667 K Street, NW, Suite 1100
             List the contract number of any                                                    Washington, DC 20006-1660__.
                                                         __ ___.                         __
Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                            Page 2 of 6
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 Debtor 1 ~N Winddown, LLC                                                                           Case number ~~fk~ow~~
              First Name               Middle Name                   Last Name



             Additional Page if You Have More Contracts or Leases

 2, fist al[ contracts and unexpired leases                                              Stafe the name and mailing address for atl other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                     Government co!?tract


 2.11.       State what the contract or                    Subscription Services
             lease is for and the nature of                Agreement dated June
             the debtor's interest                         29, 2016

                  State the term remaining                 Expires 6/28/2020
                                                                                             FloQast, Inc.
              List the contract number of any                                                5205 Agnes Ave.
                    government contract                                                      Valley Village, CA 91607


 2.12.       State what the contract or                    Customer Services
             lease is for and the nature of                Agreement
             the debtor's interest

                  State the term remaining                 open                              Global Mail, Inc. dba DHL eCommerce
                                                                                             2700 South Commerce Parkway
              List the contract number of any                                                Suite 300
                    government contract                                                      Fort Lauderdale, FL 33331


 2.13.       State what the contract or                    Services Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                 Month to month; 3                 HSI USA Inc. c/o Hyperwallet Systems Inc
                                                           month cancellation                950 Granville Street
                                                           notice                            Suite 300
              List the contract number of any                                                Vancouver BC V6Z 1 L2 Canada
                    government contract


 2.14.       State what the contract or                    Services Agreement
             lease is for and the nature of                dated July 14, 2017
             the debtor's interest

                  State the term remaining                 year to year
                                                                                             IntegraCore Fulfillment, LLC
             List the contract number of any                                                 6077 W. Wells Park Rd.
                   government contract                                                       West Jordan, UT 84081


 2.15.       State what the contract or                    Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                until 90 day notice of            Landmark Global, Inc.
                                                          termination                       Attn: General Counsel
             List the contract number of any                                                34 E. Sola St.
                   government contract                                                      Santa Barbara, CA 93101




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                          Page 3 of 6
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 Debtor 1 JN Winddown, LLC                                                                           Case number ~r~k~own~
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         tease

~.i~.        ~tatE Wiiai i~'iE COi~trc'i~t ~r            .
                                                         ci@iviC^c ~tj~C.",~iS~C~~
             lease is for and the nature of
             the debtor's interest
                                                                                             Logistic Centre Weert(UK 3PL)
                 State the term remaining                 until 90 days notice of            Havenweg 16
                                                          termination                        6006 SM Weert
             List the contract number of any                                                 The Netherlands
                   government contract


2.17.        State what the contract or                   SAAS Services
             lease is for and the nature of               Agreement dated June
             the debtor's interest                        15, 2017

                 State the term remaining                 open                               Maven Technologies, Inc.
                                                                                             540 Hill Street
             List the contract number of any                                                 Apt. 1
                   government contract                                                       San Francisco, CA 94114


2.18.        State what the contract or                   Licensing Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 open
                                                                                             Moon Shine, LP
             List the contract number of any                                                 10594 Route 35
                   government contract                                                       Mount Pleasant Mills, PA 17853


2.19.        State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 12/1/17(Costa
             the debtor's interest                        Rica)

                 State the term remaining                 open                               Morris Meetings &Incentives, LLC
                                                                                             101 S. 200 East
             List the contract number of any                                                 Suite 100
                   government contract                                                       Salt Lake City, UT 84111


220.         State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 1/1 81201 8
             the debtor's interest                        (Thailand)

                  State the term remaining                open                               Morris Meetings &Incentives, LLC
                                                                                             101 S. 200 East
             List the contract number of any                                                 Suite 100
                   government contract                                                       Salt Lake City, UT 84111


221.         State what the contract or                   Subscription Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                          Netsuite Inc.
                  State the term remaining                               2955 Campus Drive
                                                           until 30 day termination
                                                           notice        Suite 100
            List the contract number of any                              San   Mateo, CA 94403
                                                   __      _ _ ---                 __ __ ___ -
Official Form 206G                    Schedule G: Executory Contracts and  Unexpired Leases                                                      Page 4 of 6

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  Debtor 1 ~N Winddown, LLC                                                                          Case number ~~iknoWn)
              First Name                Middle Name                  Last Name



             Additional Page if You Have More Contracts or Leases

 2. List al! contracts and unexpired teases                                              Stafe the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory confract or unexpired
                                                                                         lease

                     ~OV@iiii7iciit CvtlifaCt




 2.22.        State what the contract or                   Merchant Agreement
              lease is for and the nature.of
              the debtor's interest

                  State the term remaining                 Until 60 day termination          PayPal, Inc.
                                                           notice                            eBay Park North
              List the contract number of any                                                2211 North First Street
                    government contract       __ __ _ ____                                   San Jose, CA 95131


 2.23.        State what the contract or                   Agreement dated
              lease is for and the nature of               9/15/17
              the debtor's interest

                  State the term remaining                 expires 10/31/2019
                                                                                             Photofy, Inc.
              List the contract number of any                                                1053 E Whitaker Mill Rd #107
                    government contract                                                      Raleigh, NC 27604


 2.24.       State what the contract or                    American Fork Home
             lease is for and the nature of                Office Lease
             the debtor's interest

                  State the term remaining                 expires 4/30/2019                 Pine Valley Realty
                                                                                             c/o Julie Webb
              List the contract number of any                                                372 S. Main St., #A
                    government contract                                                      Alpine, UT 84004


 2.25.       State what the contract or                    Master Services
             lease is for and the nature of                Agreement dated
             the debtor's interest                         3/21/2017

                  State the term remaining                 open
                                                                                            Robinsage ~LG
              List the contract number of any                                               8180 S. 700 East
                    government contract                                                     Sandy, UT 84070-0562


 2.26.       State what the contract or                    Truck Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                 expires 3/26/2023
                                                                                            Rush Truck Leasing dba Idealease
              List the contract number of any                                               P.O. Box 25934
                    government contract                                                     Overland Park, KS 66225


 2.27.       State what the contract or                    Snapfulfil Agreement -    Synergy North America Inc.
             lease is for and the nature of                Warehouse                 174 E. Bay Street
             the debtor's interest                         Management System         Suite 300C
                                                                                     Charleston, SC 29401
Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                          Page 5 of 6
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  Debtor 1 JN Winddown, LLC                                                                          Case number ~ifknow~~
               First Name               Middle Name                  Last Name



             Additional Page if You Have More Contracts or Leases


 2. List alb contracts and unexpired leases                                              State the name and mailing address #or all o#her parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         l~a~e

                  State the term remaining                 expires 2/24/2019

              List the contract number of any
                    government contract


 2.28.        State what the contract or                   Group Sales
              lease is for and the nature of               Agreement
              the debtor's interest

                  State the term remaining                 open
                                                                                             The Inn at Opryland, A Gaylord Hotel
              List the contract number of any                                                2401 Music Valley Drive
                    government contract                                                      Nashville, TN 37214-1002


 2.29.        State what the contract or                   Agreement -Keynote
              lease is for and the nature of               speaker Conference
              the debtor's interest                        2018

                  State the term remaining                 open                              The Jon Gordon Company
                                                                                             830-13 A1A North
              List the contract number of any                                                Suite 111
                    government contract                                                      Ponte Vedra Beach, FL 32082


 2.30.       State what the contract or                    American Fork
             lease is for and the nature of                Warehouse Lease
             the debtor's interest

                  State the term remaining                 expires 12/31/2019
                                                                                            WI Commercial Properties West AF LLC
              List the contract number of any                                               4914 Joanne Kearney Blvd.
                    government contract                                                     Tampa, FL
                                                                                                    __ 33619




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                          Page 6 of 6
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     pebtw Hama          ~}~( ~tyinddown. LLG

     United States Bankruptcy Court {ar the: DISTRICT OF DELAWARE

     Case number(N krrown)
                                                                                                                                     ❑ Check if this is an
                                                                                                                                       amended flfing



     Gfficial Form 2a2
     Declaration Under Penally of                                          p
                                                                                             for Non-Individual Debtors
     An indivkdua! who is suthorCzesf to act on behalf of a nan•tndtv[dual dehtor,such as a corpoeatfon or partnership, must s[gn and submit this
     farm far the schedules of assets ared tiahillties; any other documenttha# requlr~s a declaraEian thafis not fnaluded tn`the'docament~and any
     amert8mants ofi those documettts.Th(s farm must state the indtviduaPs position or relaUonshtp to the debtor,the (dentiky of the document,
     and the date. Bankruptcy Rules 1008 and 8Qt1.

     WARNING -- 8antwptcy fraud is a serious crime, !.taking ~ false statement,cancsalIng proparty, or obtaining money ar praperfy by fraud in
                                                                                                                                  152,1341,
     canaactiun with a bankruptcy case can resuk in fCnes up to 350U,000 or impfisonmant for up to 20 yoa~s, or both. 18 U.S.C.§§
     9519.end 3~T1.



                     Dec(aratian and signature


            i am the presldant, another offlce~, or an authorized agent of the carporaHon; a member or an authorized agent of the partnership; ar another
            ttsdivtduai serving as a representative of the debtor in this case.

            i have examined the information in fha doaiments checked below and 1 have a reasonable beilef that fhe Information is we and coRecL•

             ~         Schedule AFB: Assets-Rest ant(Personal Prop~riy{Offldai Form 20SA/B}
             ~         Scftedule D:Crgd/tors 4Yho tfarve Cfarms Secured by Nroperfy(Ofitclai Form 2t}&Ctj
             ~         Schedule E/F.• Creditors Who Nave Unsecured Claims(Offldal Form 206ElF}
             ~         Schedule G Executory Contracts and Unexpired Leases(Oifiidai Form Z~G}
             Q         Schedule H:Codebtas(Offfc3ai Fwm 206H}
             ~         Summary of Assets and UabiUdes for Nar-indivtdusls(gfficlai Form 206Sum)
              p       Amended Scfiedule
                                                                                                                                           Form 20Aj
              p.      Ghspter 1i rrr Chapter9 Cases:Ust of Creditors.Wha Hive.the 20 Largest Unsecured Claims and Are Not insiders(Offlda!
                    t Other document that requires a declaratlt~'

             t declare under penalty o[ perjury th t the

              Facecuted on


                                                                         T. Scott AvEI~
                                                                         Printed name

                                                                         Chief Resfructurin~ t}fifcer
                                                                         PusiUon or relationship to debtpr




~~   pHidal Form 2Q2                                              Declaration Under Ponatty of PerJttry for Non-individ~ai Debtors
                                                                                                                                                   bast rasa 6ar~weip~r
     so[tware coa~rS~f+l {e) 7sss-tote beat cau.lLc - www.bas~case.com
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Debtor name          JN Winddown, LLC

United States Bankruptcy Court for the:             DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                        ❑ Check if this is an
                                                                                                                                          amended filing



Official Form 207
Sta#ement of Financial Affairs for Non-Individuals Filing for Ban~Cruptcy                                                                                        04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

              Income

1. Gross revenue from business

      ❑ None.

       Identify the beginning and ending dates of the debtor's fiscal year,                     Sources s~f revenue                          Gross revenue
       ~~hich may be a calendar year                                                            Check all that apply                         (before deductions anc
                                                                                                                                             exclusions)

       From the beginning of the fiscal year to filing date:                                    ■ Operating a business                             $55,440,471.00
       From 1/01/2018 to Filing Date
                                                                                                ❑ Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in Tine 1.

      ■ None.

                                                                                                Description of sources of revenue            Gross revenue #rom
                                                                                                                                             each source
                                                                                                                                             (before deductions and
                                                                                                                                             exclusions)

              List Certain Transfers Made Before Filing for Bankrupt__

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425.(This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      ❑ None.

       Creditor's Name and Address                                          Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                                Check al! that apply
       3.1.                                                                 10/1/18                          $25,000.00         ❑ Secured debt
               Armory Strategic Partners, LLC
               750 Third Avenue                                                                                                 ❑ Unsecured loan repayments
               New York, NY 10017                                                                                               ❑ Suppliers or vendors
                                                                                                                                ■ Services
                                                                                                                                ❑ Other




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       ~N Winddown, LLC                                                                          Case number ~;~known)



       Creditor's Name and Address                                         Dates                 7ota1 amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3'2.                                                                10/1/18                            $8,250.00        ❑Secured debt
              Jeff Stephens
              976 S. 1925 West                                                                                                 ❑Unsecured loan repayments
              Orem, UT 84058                                                                                                   ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               LJ Other

       3.3.                                                                10/4/18                          $50,000.00         ❑Secured debt
               pachulski Stang Ziehl &Jones LLP
               10100 Santa Monica Blvd.                                                                                        ❑Unsecured loan repayments
               13th Floor                                                                                                      ❑Suppliers or vendors
               Los Angeles, CA 90067                                                                                           ■Services
                                                                                                                               ❑ Other_

       3.4.                                                                10/4/18                          $13,314.82         ❑Secured debt
               National Payment Corporation
               7541 Dutch Rd                                                                                                   ❑Unsecured loan repayments
               Suite B                                                                                                         ■Suppliers or vendors
               Waterville, OH 43566
                                                                                                                               ❑Services
                                                                                                                               D Other_

       3.5.                                                                10/17/18                           $3,888.01        ❑Secured debt
               payroll Tax Management
               1932 E. Deere Avenue                                                                                            ❑Unsecured loan repayments
               Suite 200                                                                                                       ■ Suppliers or vendors
               Santa Ana, CA 92705
                                                                                                                               ❑ Services
                                                                                                                               ❑ Other_

       3.6.                                                                10!17/18                           $3,300.00        ❑Secured debt
               Ian Ellis
               2023 S. 750 E.                                                                                                  D Unsecured loan repayments
               Lehi, UT 84043                                                                                                  ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_


       3'7' Michelle Naylor                                                10/17/18                           $2,298.00        ❑Secured debt
            P.O. Box 1224                                                                                                      ❑Unsecured loan repayments
            American Fork, UT 84003                                                                                            ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_


       3~8~   Jeff Stephens                                                10/29/18                           $1,433.19        ❑Secured debt
              976 S. 1925 West                                                                                                 ❑Unsecured loan repayments
              Orem, UT 84058                                                                                                   ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_


       3~9~    Michelle Naylor                                             10/29/18                           $1,050.00        ❑Secured debt
               P.O. Box 1224                                                                                                   ❑Unsecured loan repayments
               American Fork, UT 84003                                                                                         ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other




Official Form 207                                   Statement of Financial AfFairs for Non-Individuals Filing for Bankrup4cy                                   page 2

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 Debtor       ~N Winddown, LLC                                                                           Case number prknoWn~



       Creditor's Name and Address                                         Dates                 Totat amount of value         Reasons for payment or transfer
                                                                                                                               Check alt that apply
       3.10                                                                                                   $1,200.00
               fan Ellis                                                   10/29/18                                            ❑Secured debt
               2f23 9. 750 E.                                                                                                  ❑Unsecured loan repayments
               Lehi, UT 84043                                                                                                  ❑Suppliers or vendors
                                                                                                                               ~ Services
                                                                                                                               ❑ ~iher

       3.11
               Kim Quillin                                                 10/29/18                           $6,394.90        ❑Secured debt
               5049 Blackhawk Dr.                                                                                              ❑Unsecured loan repayments
               Danville, CA 94506                                                                                              ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               D Other_

       3.12                                                                                                  $10,000.00
               Armory Strategic Partners, LLC                              10/29/18                                            ❑Secured debt
               750 Third Avenue                                                                                                ❑Unsecured loan repayments
               New York, NY 10017                                                                                              ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other

       3.13 Ian Ellis                                                      10/22/18                           $1,725.00        ❑Secured debt
            2023 S. 750 E.                                                                                                     ❑Unsecured loan repayments
            Lehi, UT 84043                                                                                                     D Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other

       3.14
               Michelle Naylor                                             10/22/18                             $750.00        ❑Secured debt
               P.O. Box 1224                                                                                                   ❑Unsecured loan repayments
               American Fork, UT 84003                                                                                         ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other

       3.15                                                                                                  $25,000.00
               pachulski Stang Ziehl &Jones LLP                            10/22/18                                            ❑Secured debt
               10100 Santa Monica Blvd.                                                                                        ❑Unsecured loan repayments
               13th Floor                                                                                                      ❑Suppliers or vendors
               Los Angeles, CA 90067                                                                                           f~ Services
                                                                                                                               ❑ Other_

       3.16
               Armory Strategic Partners, LLC                              10/22/18                          $10,000.00        ❑Secured debt
               750 Third Avenue                                                                                                ❑Unsecured loan repayments
               New York, NY 10017                                                                                              ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.17
              Ian Ellis                                                    10/17/18                           $3,300.00        ❑Secured debt
              2023 S. 750 E.                                                                                                   ❑Unsecured loan repayments
              Lehi, UT 84043                                                                                                   ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               D Other_




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Debtor        JN Winddown. LLC                                                                          Case number ~rfk~ow~~



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.18                                                               10/17/18                            $2,298.00        ❑Secured debt
              Michelle Naylor
              P.O. Box 1224                                                                                                    ❑Unsecured loan repayments
              American Fork, UT 84003                                                                                          ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               U Other

       3.19                                                                12/3/2018                        $10,000.00         ❑Secured debt
              Armory Strategic Partners, LLC
              750 Third Avenue                                                                                                 ❑Unsecured loan repayments
              New York, NY 10017                                                                                               ❑ Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.20                                                                11/13/2018                       $10,000.00         ❑Secured debt
              Armory Strategic Partners, LLC
              750 Third Avenue                                                                                                 ❑Unsecured loan repayments
              New York, NY 10017                                                                                               ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.21                                                                12/17/2018                       $10,000.00         ❑Secured debt
              Armory Strategic Partners, LLC
              750 Third Avenue                                                                                                 ❑Unsecured loan repayments
              New York, NY 10017                                                                                               ❑ Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3'22                                                                12/3/2018                            $787.50        ❑Secured debt
               Michelle Naylor
               P.O. Box 1224                                                                                                   ❑Unsecured loan repayments
               American Fork, UT 84003                                                                                         ❑ Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.23                                                                11/13/2018                         $2,175.00        ❑Secured debt
               Michelle Naylor
               P.O. Box 1224                                                                                                   ❑Unsecured loan repayments
               American Fork, UT 84003                                                                                         ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other__

       3.24                                                                12/3/2018                            $414.00        ❑Secured debt
              fan Ellis
              2023 S. 750 E.                                                                                                   ❑Unsecured loan repayments
              Lehi, UT 84043                                                                                                   ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.25                                                                11/13/2018                           $600.00        ❑Secured debt
              fan Ellis
              2023 S. 750 E.                                                                                                   ❑Unsecured loan repayments
              Lehi, UT 84043                                                                                                   ❑Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other




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        Creditor's Name and Address                                        dates                  Total amount of value        Reasons foc payment or transfer
                                                                                                                               Check a/!that apply
        3.26
               pachulski Stang Ziehl &Jones LLP                            12/19/2018                        $45,000.00        ❑Secured debt
               9'f9 Forth ~/larke4 street                                                                                      ❑ Unsecured loan repayments
               17th Floor                                                                                                      ❑ Suppliers or vendors
               Wilmington, DE 1999-8705
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.2~
               Michelle Naylor                                             12/19/2018                            $340.00       ❑Secured debt
               P.O. Box 1224                                                                                                   ❑Unsecured loan repayments
               American Fork, UT 84003                                                                                         ■Suppliers or vendors
                                                                                                                               ❑ Services
                                                                                                                               ❑ Other_

       3'2$
               Ian Ellis                                                   12/19/2018                            $300.00       ❑Secured debt
               2023 S, 750 E.                                                                                                  ❑ Unsecured loan repayments
               Lehi, UT 84043                                                                                                  ■ Suppliers or vendors
                                                                                                                               ❑ Services
                                                                                                                               ❑ Other

       3.29
               Mark Brown                                                  12/19/2018                         $5,932.00        ❑Secured debt
               4210 Browns Canyon Rd.                                                                                          ❑ Unsecured loan repayments
               Peoa, UT 84061                                                                                                  ■ Suppliers or vendors
                                                                                                                               ❑ Services
                                                                                                                               ❑ Other

       3.30
               Manor Hill Advisors                                         12/19/2018                        $10,000.00        ❑Secured debt
               27541 Manor Hill Rd.                                                                                            D Unsecured loan repayments
               Laguna Niguel, CA 92677                                                                                         ❑ Suppliers or vendors
                                                                                                                               ■ Services
                                                                                                                               ❑ Other

       3.31
               paladin Management Group                                    12/19/2018                        $10,000.00        ❑Secured debt
               633 W. 5th Street                                                                                               ❑ Unsecured loan repayments
               28th Floor                                                                                                      ❑ Suppliers or vendors
               Los Angeles, CA 90071
                                                                                                                               ■ Services
                                                                                                                               ❑ Other

       3.32
               Pachulski Stang Ziehl &Jones LLP                            12/26/2018                        $10,000.00        ❑Secured debt
               919 North Market Street                                                                                         ❑ Unsecured loan repayments
               17th Floor                                                                                                      ❑ Suppliers or vendors
               Wilmington, DE 19899-8705
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_

       3.33
               paladin Management Group                                    12/26/2018                         $5,000.00        ❑Secured debt
               633 W. 5th Street                                                                                               ❑Unsecured loan repayments
               28th Floor                                                                                                      ❑Suppliers or vendors
               Los Angeles, CA 90071
                                                                                                                               ■ Services
                                                                                                                               ❑ Other_




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate.value of alI property transferred to or for the benefit of the insider is less than $6,425.(This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      G~ None.

       Insider's name and address                                          Dates                 Tota! amount of value         Reasons for payment or Transfer
       Relationship to debtor
                                                                                                              $3,000.00        Expense reimbursement
       4.1.   Kim Quillin                                                  9/6/2018
              5049 Blackhawk Drive
              Danville, CA 94506
              Chief Financial Officer former

                                                                                                              $3,000.00        Expense reimbursement
       4.2.   Kim Quillin                                                  8/20/2018
              5049 Blackhawk Drive
              Danville, CA 94506
               Chief Finanical Officer(former

       4.3. Kim Quillin                                                    7/13/2018                          $9,000.00        Expense reimbursement
            5049 Blackhawk Drive
            Danville, CA 94506
            Chief Financial Officer (former
                                                                                                            $25,000.00         Professional services
       4.4. Armory Group, LLC                                              7/25/2018
            750 Third Avenue
            New York, NY 10017
            Chief Restructurin Officer

       4.5. Elizabeth Thibbadeau                                           1/10/2018                            $195.54        Expense reimbursement
            4141 Dover Lane
            Provo, UT 84604
            Chief Executive Officer(former

       4.6. Elizabeth Thibbadeau                                                                                $196.14        Expense reimbursement
                                                                           1/31/2018
            4141 Dover Lane
            Provo, UT 84604
            Chief Executive Officer former
       4.7. Elizabeth Thibbadeau                                                                                   $9.56       Expense reimbursement
                                                                           3/14/2018
            4141 Dover Lane
            Provo, UT 84604
            Chief Executive Officer former

                                                                           3/15/201                             $195.73        Expense reimbursement
       4.8~    Elizabefh Thibbadeau
               4141 Dover Lane
               Provo, UT 84604
               Chief Executive Officer former
                                                                                                            $50,000.00         Retainer for services
       4~9• Armory Group, LLC                                              3/30/2018
            750 Third Avenue
            New York, NY 10017
            Chief Restructuring Officer

       4.10 Armory Group, LLC                                              4/6/2018                          $54,543.51        Fees for services rendered and
                                                                                                                               expenses
               750 Third Avenue
               New York, NY 10017
               Chief Restructuring Officer

       4.11 Elizabeth Thibbadeau                                           4/11/2018                            $195.73        Expense reimbursement
            4141 Dover Lane
            Provo, UT 84604
            Chief Executive Officer former
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       Insider's name and address                                         Dates                  l"otai amount of value        Reasons for payment or transfer
       Relafionship to debtor
                                                                                                           $100,000.00         Fees for services rendered
      4.12 grmory Group, LLC                                              4/20/2018
       •      750 Third Avenue
              New York, NY '10017
              Chief Restructurin Officer

                                                                                                           $100,000.00         Fees fior s~~vic~a i`~iici~~eu
      4.13 grmory Group, LLC                                              5/4/2018
      •    750 Third Avenue
           New York, NY 10017
           Chief Restructuring Officer

                                                                                                           $100,000.00         Fees for services rendered
       4.14 grmory Group, LLC                                             5/11/2018
              750 Third Avenue
              New York, NY 10017
              Chief Restructuring Officer

                                                                                                                $197.07        Expense reimbursement
       4.15 Elizabeth Thibbadeau                                           5/31/2018
       •    4141 Dover Lane
            Provo, UT 84604
            Chief Executive Officer former

                                                                                                           $100,000.00         Fees for services rendered
       4.16 Armory Group, LLC                                              5/23/2018
       •    750 Third Avenue
            New York, NY 10017
            Chief Restructuring_ Officer

                                                                                                            $31,226.61         Wages and expense
       4.17 Kim Quillin                                                    5/31/2018
                                                                                                                               reimbursements
            5049 Blackhawk Drive
            Danville, CA 94506
            Chief Financial Officer former

                                                                                                                $197.07        Expense reimbursement
       4.18 Elizabeth Thibbadeau                                           5/31/2018
              4141 Dover Lane
              Provo, UT 84604
              Chief Executive Officer (former

                                                                                                           $100,000.00         Fees for services rendered
       4.19 Armory Group, LLC                                              5/31/2018
            750 Third Avenue
            New York, NY 10017
            Chief Restructuri~Officer

                                                                                                              $9,635.52        PTO payout
       4.20 Kim Quillin                                                    6/8/2018
            5049 Blackhawk Drive
            Danville, CA 94506
            Chief Financial Officer former

                                                                                                            $33,446.15         PTO payout and wages
       4.21   Elizabeth Thibbadeau                                         6/15/2018
              4141 Dover Lane
              Provo, UT 84604
              Chief Executive Officer (former

                                                                                                            $50,000.00         Fees for services rendered
       4.22 Armory Group, LLC                                              6/19/2018
       •    750 Third Avenue
            New York, NY 10017
            Chief Restructuring Officer

                                                                                                           $350,000.00         Fees for services rendered
       4.23 Armory Group, LLC                                              6/28/2018
            750 Third Avenue
            New York, NY 10017
            Chief Restructuring Officer                                                                                                    ___

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
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     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ❑ None

       Creditor's name and address                               Describe of the Property                                      Date                 Value of groperty

       Cerberus Business Finance, LLC                            Subject assets identified by Section 2.1 of                   6/27/2018               $1,000,000.00
       X75 iKira ~Svenue                                         Purchase and Saie i~greemer~4 i~efvveef~
       New York, NY 10022                                        Cerberus Business Finance, LLC and M
                                                                 Network, LLC dated June 27, 2018
                                                                 including "all Inventory and
                                                                 equipment...and other tangible assets
                                                                 related to the business located at the
                                                                 Jamberry warehouse...and the Jamberry
                                                                 Corporate Office...except for the Excluded
                                                                 Equipment" and "the Jamberry Intellectual
                                                                 Property"

       Cerberus Business Finance, LLC                            Printers sold to American Label                               6/27/2018                $625,000.00
       875 Third Avenue
       New York, NY 10022


6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
    debt.

      ■ None

       Creditor's name and address                               Description of the action creditor took                       Date action r~~as               Amount
                                                                                                                               taken

              Legal Actions or Assignments__

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      ❑ None

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1. Global Mail, Inc. dba DHL                            Civil                      Third District Court, Salt                ■ Pending
            eCommerce vs. Jamberry                                                          Lake Co., UT                              ❑ On appeal
            Nails, LLC                                                                      Matheson Courthouse 450
                                                                                                                                      ❑ Concluded
            189400865                                                                       Svuth State St.
                                                                                            P.O. Box 1860
                                                                                            Salt Lake City, UT
                                                                                            84114-1860

       7.2. International Products Group,                        Civil                      Third District Cout, Salt                 ■ Pending
            LLC vs. Jamberry Nails, LLC                                                     Lake Co., UT                              ❑ On appeal
            180904601                                                                       Matheson Courthouse, 450
                                                                                                                                      ❑ Concluded
                                                                                            South State St.
                                                                                            P.O. Box 1860
                                                                                            Salt Lake City, UT
                                                                                            84114-1860




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               Case title                                       Nature of case            Cour# or agency's name and              Status of case
               Case number                                                                address
       7.3.    McConnel Labs, Inc. v                            Civil                     Fourth District Court, Utah             ■ Pending
               Jamberry mails, LLB                                                        Lo., Ui                                 ❑ On appeal
               180401132                                                                  75 East 80 North, Suite 202             ❑ Concluded
                                                                                          American Fork, UT
                                                                                          84003-0986

       7.4. RBM Services Inc. v.                                Civil                     4th District Court - AF, Utah           ■Pending
            Jamberry Nails, LLC                                                           County, UT                              ❑ On appeal
            18-100163                                                                     75 East 80 North, Suite 202             ❑Concluded
                                                                                          Suite 202
                                                                                          American Fork, UT
                                                                                          84003-0986

       7.5. BPI Labs, Inc. v. Jamberry                          Civil                     Circuit Court, Unita Co., WY            ■Pending
            Nails, LLC                                                                    225 9th Street                          ❑ On appeal
            CV-2018-0368                                                                  Evanston, WY 82930-3473
                                                                                                                                  ❑Concluded
                                                                                                                                                                    _-
       7.6. Marriot Hotel Services, Inc. v.                     Civil                     Chancery Court for                      ■pending
            Jamberry Nails, LLC                                                           Davidson County, TN                     ❑ On appeal
            18-1254-1                                                                     200 James Robertson Pkwy                p Concluded
                                                                                          Nashville, TN 37201


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ■ None


              Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      ❑ None

               Recipient's name and address                     Description of the gifts or contributions               Dates given                           Value

       9.1. Fight Against Domestic                              12.31.2016-3.31.2017 Contribution
            Violence
                                                                                                                        4/6/17                        $21,730.68

               Recipients relationship to debtor
               none


       9.2. Fight Against Domestic                              Donation from wraps
            Violence
                                                                                                                        5-11-17                       $23,439.00

               Recipients relationship to debtor
               none


       9.3. Fight Against Domestic                              Donation 6.30.2017
            Violence
                                                                                                                        6/30117                         $9,533.00

               Recipients relationship to debtor
               none


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Debtor        ~N Winddown, LLC                                                                          Case number prknoWn~



              Recipient's name and address                      Description of the gifts or contributions                Dates given              Vaiue

       9.4.   Fight Against Domestic                            June 2017 Donations
              ~fioience
                                                                                                                         7/13/17           $1,061.66

               Recipients relationship to debtor
               none


       9.5.   Fight Against Domestic                             Donation 8.10.2017
              Violence
                                                                                                                         8/10/17          $29,455.78

               Recipients relationship to debtor
               none


       9.6. Fight Against Domestic                               donation 9.07.2017
            Violence
                                                                                                                         9-8-17            $5,596.00

               Recipients relatianshi~ fo debEor
               none


       9.7.    Fight Against Domestic                            Remaining July and August
               Violence
                                                                                                                         10/1/17            $7,035.98

               Recipients relafionship to debtor
               none


       9.8.    Fight Against Domestic                            Q3 2017 Donation
               Violence
                                                                                                                         10/6/17          $31,250.00

               Recipients relationship to debtor
               none


       9.9.    Fight Against Domestic                            September 2017 Donations
               Violence
                                                                                                                         10/6/17            $5,008.99

               Recipients relationship to debtor
               none


       9.10 Fight Against Domestic                               Donation for Oct 2017
            Violence
                                                                                                                         11/9/17            $6,553.70

               Recipients relationship to debtor
               none


       9.11    Fight Against Domestic                            Donation for November 2017
               Violence
                                                                                                                         12/8/17          $15,061.38

               Recipients relationship to debtor
               none




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 Debtor      ~N Winddown, LLC                                                                               Case number ~riknown)



               Recipient's name and address                      Description of the gifts or contrit~utions                Dates given                  Value

       9.12 Fight Against Domestic                               Quarterly payment
            Violence
                                                                                                                           1/5/18               $31,250.00

               f2ecipients relationship to debtor
               none


       9.13 Fight Against Domestic                               FADV Donation 12.2017
            Violence
                                                                                                                           1/19/18                $6,534.01

               Recipients relationship to debtor
               none


       9.14 Fight Against Domestic                               Donations for January 2018
            Violence
                                                                                                                           3/23/18                $3,692.98

               Recipients relationship to debtor
               none



               Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ■ None

       Description of fhe property {ost and                      Amount of payments received #or the loss                  Dates of loss   Value of property
       how the loss occwrred                                                                                                                            lost
                                                                 Ef you have received paymenfs io cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 9Q6A/B {Schedide
                                                                 A/8: Assets —Rea!and Persona!Property).

               Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      ❑ None.

                Who vas paid or ovho received                        If not money, describe any property transferred           Dates        Tota[ amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Pachulski Stang Ziehl &
                Jones LLP
                919 North Market Street
                17th Floor
                Wilmington, DE 19899-8705                                                                                      10/22/18         $25,000.00

                Email or website address


                Who made the payment, if not debtor?




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 Debtor      ~N Winddown. LLC                                                                            Case number pfk~own~



                Who 4~ras paid or ~~ho received                      If not money, describe any property transferred           Dates        Tota! amount or
                ttie transfer?                                                                                                                        value
                Address
       11.2. Armory Strategic Partners,
             LLC
             750 Third Avenue
             New York, NY 10017                                                                                                12/3/2018        $10,000.00

                 Email or w~et~site address


                 Who rrtade the payment, if not debtor?




       11.3. Armory Strategic Partners,
             LLC
             750 Third Avenue
             New York, NY 10017                                                                                                11/13/2018       $10,000.00

                Email ar website address


                Who made the payment, if got debtor?




       11.4. Armory Strategic Partners,
             LLC
             750 Third Avenue
             New York, NY 10017                                                                                                12/17/2018       $10,000.00

                Email or ~vebsite address


                Who made the payment, if not debtor?




       11.5. Pachulski Stang Ziehl &
             Jones LLP
             919 North Market Street
             17th Floor
             Wilmington, DE 19899-8705                                                                                         12/19/2018       $45,000.00

                Email or vrebsite address


                Who made the payment, if not debtor?




       11.6.    Manor Hill Advisors
                27541 Manor Hill Rd.
                Laguna Niguel, CA 92677                                                                                        12/19/2018       $10,000.00

                Email or website address


                Who made the payment, if not debtor?




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 Debtor      ~N Winddown, LLC                                                                            Case number ~rrk~oWn~



                Who eras paid or ~vho received                       If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                         value
                Address
       11.7.    Paladi~i Marj~~er~~e►ii Groin
                633 W. 5th Street
                28th Floor
                Los Angeles, CA 90071                                                                                          12/19/2018        $10,000.00

                Email or ~vebsite address


                Who made the payment, i#not debtor?




       11.8.    Pachulski Stang Ziehl &
                Jones LLP
                919 North Market Street
                17th Floor
                Wilmington, DE 19899-8705                                                                                      12/26/2018        $10,000.00

                Email or ~+ebsite address


                Who made the payment, if not debtor?




       11.9.    Paladin Management Group
                655 W. 5th Street
                28th Floor
                Los Angeles, CA 90017                                                                                          12/26/2018         $5,000.00

                Email or vrebsite address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to aself-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers      Tofal amount or
                                                                                                                       were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ❑ None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 13
Software Copyright (c) 1996-2018 Best Case, lLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                    Case 18-12867-BLS                      Doc 1       Filed 12/27/18         Page 58 of 87
 Debtor       JN Winddown, LLC                                                                       Case number ~~fknown~



                Who received transfer?                          Description of property transferred or              Bate transfer            Total amount or
                Address                                         payments received or debts paid in exchange          vas made                          value
       13.1                                                     Subject Assets identified in Section 2 of
                M [Network, ~LC                                 the Purcl~as~ ar~d Sale Agreement datee!
                1750 North 464 East                             .tune 27, 2Q18 by and among M Network,
                Orem, UT 84057                                  LLC and Jamberry Nails, LLC.                        6/27/2018                   $250,000.00

                Relationship to de6tar




               Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      ❑ Does not apply

                 Address                                                                                             Dates of occupancy
                                                                                                                     From-To
       14.1.     751 E. Quality Drive                                                                                11/2014 to 6/2018
                 American Fork, UT 84003

       14.2•     1350 West 200                                                                                       4/2012 to 6/2018
                 South Lindon, UT 84042

       14.3.     12552 South 125 West                                                                                8/2014 to 8/2016
                 Draper, UT 84020


               Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    -diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      ■       No. Go to Part 9.
      ❑       Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services       If debtor provides meals
                                                                 fhe debtor provides                                                and housing, number of
                                                                                                                                    patients in debtor's care

               Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      ■       No.
      ❑       Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA,401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ❑       No. Go to Part 10.
      ■       Yes. Does the debtor serve as plan administrator?

                    ■ No Go to Part 10.
                    ❑ Yes. Fill in below:

          ~    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
Official Form 207                             S4atement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 14
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 Debtor      ~N Winddown, LLC                                                                            Case number ~~fk~ow~~



     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
     cooperatives, associations, and other financial institutions.

      ❑ None
            Financial Institution name and                       Last4 digFts of          Type of account or           Date account vas            Last balance
            Address                                              account number           instrument                   c4osed, sold,          k~efore closing or
                                                                                                                       rr24ved, Qr                      transfer
                                                                                                                       transferred
       18.1. Wells Fargo                                         XXXX-5878                ❑Checking                    August 2018                   Unknown
             733 Marquette Ave.                                                           ❑Savings
             Minneapolis, MN 55402                                                        D Money Market
                                                                                          ❑ Brokerage
                                                                                          ■
                                                                                          Other AP/Operatin
                                                                                          g Account

       1s.2. Wells Fargo                                         XXXX-5886                ❑Checking                    August 2018                   Unknown
             733 Marquette Ave.                                                           ❑Savings
             Minneapolis, MN 55402                                                        ❑Money Market
                                                                                          ❑ Brokerage
                                                                                          ■
                                                                                          Other Collections
                                                                                          Account

       18.3. Wells Fargo                                         XXXX-5894                ❑Checking                    August 2018                   Unknown
             733 Marquette Ave.                                                           ❑Savings
             Minneapolis, MN 55402                                                        ❑Money Market
                                                                                          ❑ Brokerage
                                                                                          ■ Other Wire/ACH
                                                                                          Account

       18.4. Wells Fargo                                         XXXX-5902                ❑Checking                    August X018                   Unknown
             733 Marquette Ave.                                                           ❑Savings
             Minneapolis, MN 55402                                                        ❑Money Market
                                                                                          ❑ Brokerage
                                                                                          ■ Other Cash
                                                                                          Collateral
                                                                                          Account


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      ■ None

       Depository institution name anc! address                      Names of anyone with                 Description of ffie contents         Da you still
                                                                     access to it                                                              fiave it2
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      ❑ None

       Facili4y name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


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 Debtor      JN Winddown, LLC                                                                             Case number ~;fknoWn~



       Facility name anti address                                      AJames of anyone with                Qescription of the contents          flo you still
                                                                       access to it                                                              have it?
       Fort Knox Storage                                               lan Ellis                            Human Resource records               ❑ No
       2400 North 1X00 West                                            fifiaric Brown                                                            ■ Yes
       Lehi, UT 84043                                                  Rick Mortenson



             _Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     ■ None


              Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental /aw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No.
      ❑     Yes. Provide details below.

       Gase title                                                      Court or agency name and             Nature of the case                   Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      ■     No.
      ❑     Yes. Provide details below.

       Sete name and address                                           ~avernmenta! unit name and               Er~vironmenta! lav,~, if known   Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      ■     No.
      ❑     Yes. Provide details below.

       Site name and address                                           Governmental unit name and               Environmental lave, if known     Date of notice
                                                                       address

      ~~ Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      ■ None




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 Debtor      ~N Winddovam, LLC                                                                          Case number ~itknow~~



    Business name address                                      Describe the nature of the business             Employer tdentification number
                                                                                                               Do not include Social Security number ar ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         ❑ None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Besse Hanks                                                                                                             9/17/2015 to
                    4532 Park Hallow Lane                                                                                                   9/28/2018
                    Riverton, UT 84096                                                                                          ______________

       26a.2.      Mark Strawn                                                                                                                 3/28/2016 to
                   1403 Rolling Sage Way                                                                                                       9/22/2017
                  _Saratoga Springs, UT 84009

       26a.3.       Ian Ellis                                                                                                                  6/29/2015 to 4/2/2018
                    2023 S 750 E
                    Lehi, UT 84043

       26a.4.       Nicole Goodwin                                                                                                             1/19/2016 to
                    2897 West Rolling Creek Way                                                                                                6/29/2018
                    South Jordan, UT 84095

       26a.5.       Brittany Watkins                                                                                                           5/4/2015 to 9/7/2018
                    1575 South 100
                    Orem, UT 84058

       26a.6.       Dustin Hanson                                                                                                              9/15/2015 to
                    1892 W 2250 N                                                                                                              5/11/2018
                    Lehi, UT 84043                                                                                                                   ___                 ___

       26a.~.       Mark Walkenhorst                                                                                                           2/27/2017 to
                    2147 Ruger Drive                                                                                                           12/15/2017
                    Saratoga Springs, UT 84045

       26a.8.       Kim Quillin                                                                                                                7/17/2017 to
                    5049 Blackhawk Drive                                                                                                       9/12/2018
                    Danville, CA 94506

       26a.9.       Michelle Naylor                                                                                                            5/5/2016 to 9/28/2018
                    PO Box 1224
                    American Fork, UT 84003

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

           ❑ None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Ernst &Young LLC
                    15 W South Temple
                    Suite 1800
                    Salt Lake Cit~r, UT 84101
       Name and address                                                                                                                        Date of service
                                                                                                                                               Frorn-To
       26b.2.       Squire &Company PC
                    1329 S 800 E
                    Orem, UT 84097

    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 17

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 Debtor      ~N Winddown. LLC                                                                             Case number ~rrknown)




           ❑ None

       Pdarne and address                                                                                     tf any E~oaks crf account anc! records are
                                                                                                              unavailable, explain rvhy
       26c.1.       Kim Quillin



       26c.2.       Squire &Company PC
                    1329 S 800 E
                    Orem, UT 84097

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           ❑ None

       Name and address
       26d.1.   Zions Bank
                PO Box 30709
              _ Salt Lake City, UT 84130                   _                  __                   ____

       26d.2.       Wells Fargo Bank N.A.
                    PO Box 63020
                    San Francisco, CA 94163


27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      ■     No
      ❑     Yes. Give the details about the two most recent inventories.

               tame of the person vaho supervised fhe taking of the                          Date of inventory       The dollar amount and basis {cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Ac[dress                                             Position and nature of any              % of interest, it
                                                                                                           interest                                any
       Scott Avila                                    762 Lakeshore Blvd                                   Chief Restructuring Officer
                                                      Incline Village, NV 89450

       Name                                           Address                                              Position and nature of any              ~!o of inferest, if
                                                                                                           interest                                any
       Stuart Martin                                  1185 Avenue of the Americas                          Officer of parent Jamberry
                                                      39th Floor                                           Nails Intermediate, LLC
                                                      New York, NY 10036



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      ❑     No
      ■     Yes. Identify below.

       Name                                           Address                                              Position and nature of any         Period during which
                                                                                                           interest                           position or interest
                                                                                                                                              was held
       Brian Bowers                                   126 North 1270 East                                  Chief Operations Officer           Term Date: 2018
                                                      American Fork, UT 84003



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 Debtor      ~N Winddown, LLC                                                                            Case number ~rrknow~~



       Name                                           Address                                             Position and nature of any       Period during iehich
                                                                                                          interest                         position ar interest
                                                                                                                                           was held
       Sriek Ser~esen                                 4417 Oxford lNay                                    Ghief Growth Officer             Term gate: ~Q9~
                                                      Bountiful, UT 84010

       Name                                           Address                                             Posifion and nature of any       Period during ~i~ich
                                                                                                          interest                         position or interesf
                                                                                                                                           was held
       Elizabeth Thibbadeau                           4141 Dover Lane                                     Chief Executive Officer          Term Date:
                                                      Provo, UT 84604                                                                      04/08/18

       Name                                           Address                                             Position and nature of any       Period during tiwhich
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Kim Quillin                                    5049 Blackhawk Drive                                Chief Financial Officer          Term Date:
                                                      Danville, CA 94506                                                                   9/11/18


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      ■     No
      ❑     Yes. Identify below.

               Name anti address of recipient                    Amount of money or description and value of             Dates             Reason #or
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      ■     No
      ❑     Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■     No
      ❑     Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the p2rent
                                                                                                               corporation




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pebtar     ,JN Wlnddown~ l.l.0 _ ,__~__                                                             Case number ~r        j




            a{~naEur~ and ~acfaration                                ----                                         _.~._____

     WARNING --Bankruptcy fraud is a serious crime. Making a false statement, concealing property, ar obtaining money or ptaperty by fraud in
     con~ocilon with a bankruptcy case can result in fines up to $500,000 or imprisonment fog up to 24 years, or both.
     ~s u:s.c.§~ ~~2, ~s~i, 2~~s, vn~ ~s~~.
      have examined the information in this Staterrrent of Financial Affairs and any attachments and have a reasonable belief that the informat(on is true
     and careect.

       declare under pe ity ofi pe' ry that the kxegoing is true and correct.

Ex     t              ~          °~             p

                                                                       T. Scott Avila
S' natur            'u                n e aif of the debtor            Printed name

Position pr relationship to debtor        ~}~ief Res#ructurin Qificer

Are addItianal pages to Statement ofFinancFa/ Affaf~s for Non-JndtvidciaJs Pilfng for Bankruptcy(Official Form 20T} attached?
■ No
D Yes




C]ffic~ FtXm 207                                    3tatemant of flnenctai Affairs for Non•individuals ~i1Tng for Bankruptcy
 ~ott~exo CFyyrs~,l(e} 19¢d8.2018 Hasp Cam, LLC -w~xw.b~Sca~se.cam                                                                          t3~ t:a~a t~tn~~
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                                               United States Bankruptcy Court
                                                          District of T3etaware
 Cn re   .!~! LNlr~ddc~van, L~~_                              __.___              ~_             Case No.
                                                                       I}ebtar(s}~               Chapter




                                   VER:IFICATZON t~F CREDITOR MATRIX


I, the Ghief Restructuring Officer of the corporation named as the debtor in thzs case, hereby verify that the attached list ofcreditors is

true and correct to the best of my l:nowledg~.




DAte:       \         ~            ~

                                                         Signer/Title
AB Graphic InternationalCase   18-12867-BLS    Doc 1
                                        Adela Aiba       Filed 12/27/18   Page 66 of 87Hall Makeup Artistry
                                                                               Alyssa
2755 Pinnacle Drive                     703 Orchard Dr                          335 South Nebo Drive
Matt Billuni                            Orem, UT 84057                          Spanish Fork, UT 84660
Elgin, IL 60124


AB Graphic International                Adriana Barragan                        Amada Ortiz
2755 Pinnacle Drive                     466 ~~ 300 W                            1751 N 980 W
Matt Billuni                            OrerYi, UT 84057                        Orem, UT 84057
Elgin, IL 60124



Abigail Hassinger                       Aimee Meier                             Amanda Larson
1682 N 980 W                            100E 4th Street                         22401 N Los Caballos 21st
Orem, UT 84057                          Frederick, MD 21701                     Scottsdale, AZ 85255




Accelerated Packaging                   Alberto Fournier                        American Chemistry Council dba C
PO Box 536                              976 Wood Ave                            2900 Fairview Park Drive
Payson, UT 84651                        Geneva, IL 60134                        Falls Church, VA 22042-4513




Accelerated Packaging                   Ali Doyle                               American Fork City
PO Box 536                              PO Box 85                               51 East Main
Payson, UT 84651                        Vanceburg, KY 41179                     American Fork, UT 84003




ACE Recycling &Disposal                 Alison Krebs                            American Label
P.O. Box 2608                           1345 Dogwood Dr.                        4517 W 1730 S Suite 6416,
Salt Lake City, UT 84110                Mapleton, UT 84664                      Salt Lake City, UT 84104




ACE Recycling & Disposal                Alliance Benefit Group-Rocky Mountain   American Label
P.O. Box 2608                           7090 South Union Ave. Suite 650         4517 West 1730 South
Salt Lake City, UT 84110                Salt Lake City, UT 84047                Salt Lake City, UT 84104




Adam Hennings                           Alliance Benefit Group-Rocky Mountain   Amy Magneson
338 E South Temple Apt 321              7090 South Union Ave. Suite 650         10 Cobb Ave
Salt Lake City, UT 84111                Salt Lake City, UT 84047                White Plains, NY 10606




Adam Hepworth                           Alpha Graphics                          Ana Mosso de Torres
81 Windsong Dr.                         454 West 800 North                      529 North 550 West
Pleasant Grove, UT 84062                Orem, UT 84057                          Orem, UT 84057




Addisons                                Alpha Graphics                          Andrea Arce
                                        454 West 800 North                      828 East 300 South #14
                                        Orem, UT 84057                          Provo, UT 84606
Anita Purdy
                         Case 18-12867-BLS
                                       Ashdon Doc  1 Filed 12/27/18
                                               Woffinden                    Page 67 of 87 Cordoba
                                                                                 Ayelen
1265 N 300 W #26                       7888 N 7800 W                              Ayelen Cordoba 1555 Sandhill Roy
Lehi, UT 84043                         Lehi, UT 84043                             Orem, UT 84058




Aracely A Robles                       Ashley Monty                               AzTech Converting Systems, Inc.
843 North 880 West                     32(~ UVEstfiefd Circle                     2'i 2 West Lodge Drive
Pleasant Grove, UT 84062               Alpine, UT 84004                           Tempe, AZ 85283




Aries Global Logistics, Inc.           Aspen Press &Packaging                     AzTech Converting Systems, Inc.
P.O. Box 592                           3555 West Ninigret Drive Suite 400         212 West Lodge Drive
Franklin Square, NY 11010              Salt Lake City, UT 84104                   Tempe, AZ 85283




Aries Global Logistics, Inc.           Aspen Press &Packaging                     Bellstar Marketing, Inc
PO Box 592                             3555 West Ninigret Drive Suite 400         3476 Rich Field Drive
Franklin Square, NY 11010              Salt Lake City, UT 84104                   Carlsbad, CA 92010




Aries Global Logistics, Inc.           Asuka U Miller                             Bellstar Marketing, Inc
PO Box 592                             302 N Palisade Drive                       3476 Rich Field Drive
Franklin Square, NY 11010              Orem, UT 84097                             Carlsbad, CA 92010




Arizona Dept. of Revenue               Aubrie Penfold                            Beilstar Marketing, Inc.
PO Box 29010                           939 South 2100 West                       3466 Voyager Circle
Phoenix, AZ 85038-9010                 Orem, UT 84058                            San Diego, CA 92130




Arizona Model Management, LLC          August Monroe                             Benjamin Stiison
4729 East Sunrise Drive Suite 227      202 South 1700 West                       2287 E Dugway Drive
Tucson, AZ 85717                       Lehi, UT 84043                            Eagle Mountain, UT 84005




Armory Group, LLC                      Australian Taxation Office                Bennett-Tueller Johnson &Deere
1230 Rosecrans Avenue Suite 660        Locked Bag 1793 Penrith NSW 1793          3165 East Millrock Drive Ste 500
Manhattan Beach, CA 90266              AUSTRALIA                                 Salt Lake City, UT 84121-4704




Armstrong Transport Group, Inc.        Australian Taxation Office                Bennett-Tueller Johnson &Deere
PO Box 745100                          Locked Bag 1793                           3165 East Milirock Drive Ste 500
Atlanta, GA 30374-5100                 Penrith NSW 1793                          Salt Lake City, UT 84121-4704
                                       AUSTRALIA



Armstrong Transport Group, Inc.        Authority Heating & Cooling               Berlin Packaging LLC
PO Box 745100                          425 N 600 W                               25 West Monroe Street 14th Floor
Atlanta, GA 30374-5100                 Orem, UT 84057                            Chicago, IL 60661
Best Shred
                        Case 18-12867-BLS    DocInc.
                                      BPI Labs,   1 Filed 12/27/18      Page 68 of 87 Music, Inc.
                                                                             Broadcast
5406 W 11000 N Ste 103 PMB #542          97 S. Red Willow Rd                  10 Music Square East
Highland, UT 84003                       Evanston, WY 82930                   Nashville, TN 37203-4399




Best Shred                               Brady Industries, LLC                Brooke Taylor
5406 W 11000 N Ste 103 PMB #542          7055 Lindell Road                    108 East 1500 South
Highland, UT 84003                       Las Vegas, NV 89118                  Orem, UT 84058




Betty Carter                             Brady Industries, LLC               Bryan Guevara
315 N 725 W                              7055 Lindell Road                   24 Hanover Drive
Orem, UT 84057                           Las Vegas, NV 89118                 Orem, UT 84058




Blomquist Hale Consulting Group, Inc..   Braintree                            Bryce Revelli
860 East 4500 South Suite 202            PayPal, Inc.                         325 East 500 South
Salt Lake City, UT 84107                 Attn: Legal Department               Pleasant Grove, UT 84062
                                         2211 North First Street
                                         San Jose, CA 95131

Blomquist Hale Consulting Group, Inc.    Brayden Baker                        Bryce Richards
860 East 4500 South Suite 202            1450 South State Street B413         10496 Iverson Lane
Salt Lake City, UT 84107                 Orem, UT 84097                       Highland, UT 84003




Bobby M. Junkins, Judge of Probate       Brent Boroughs                      Bryn McEwan
PO Box 187                               2278 Cimmaron Drive                 9687 North Hummer Drive
Gadsden, AL 35902                        Springville, UT 84663               Eagle Mountain, UT 84005




Boise Packaging & Newsprint, LLC         Brian Bowers                         C.H Robinson Worldwide, Inc.
PO Box 51655                             1276 North 1270 East                 14701 Charlson Road Suite 1400
Los Angeles, CA 90051-5955               American Fork, UT 84003              Eden Prairie, MN 55347




Boise Packaging & Newsprint, LLC         Brick Bergeson                      Cactus & Tropicals
PO Box 51655                             4417 Oxford Way                     2735 S 2000 E
Los Angeles, CA 90051-5955               Bountiful, UT 84010                 Salt Lake City, UT 84109




Bourne & Weir                            Brittany Watkins                    Cactus & Tropicals
1 1/50 Market St,                        1575 South 100 East                 2735 S 2000 E
Melbourne VIC 3000                       Orem, UT 84058                      Salt Lake City, UT 84109
AUSTRALIA


BPI Labs, Inc.                           Broadcast Music, Inc.               Caitlyn Brooksby
97 S. Red Willow Rd                      10 Music Square E                   7650 Euro Drive E305
Evanston, WY 82930                       Nashville, TN 37203                 Midvale, UT 84047
Caleb Marshall
                        Case 18-12867-BLS     DocCommunications
                                      Centurylink 1 Filed 12/27/18        Page 69 of 87 Stark
                                                                               Christina
P.O. Box 36708                        100 Centurylink Drive                     1253 E Forest Ridge Rd
Los Angeles, CA 90036                 Monroe, LA 71203                          Sandy, UT 84094




Canada Revenue Agency                 Cerberus Business Finance, LLC            Christopher Cullen
201 St. George Street                 875 Yhird Avenue 14th Floor               3143 South Irailbfazer Cove
Bathhurst, NB                         New York, NY 10022                        West Valley City, UT 84128
E2A 1 B8
Canada

Carolina Brown                        Cerberus Business Finance, LLC           Christy Hepworth
3636 West 5225 South                  875 Third Avenue                         81 Windsong Dr
Roy, UT 84067                         New York, NY 10022                       Pleasant Grove, UT 84062




Carter Fink                           Cerberus Business Finance, LLC           Christy Hepworth
109 S 1125 W                          875 Third Avenue 14th Floor              81 Windsong Drive
Springville, UT 84663                 New York, NY 10022                       Pleasant Grove, UT 84062




CasePak, Inc.                         Certified Shred                           Cigna Health and Life Insurance C
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Draper, UT 84020                      Salt Lake City, UT 84115                  Philadelphia, PA 19101-3701




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City of Alamosa           Case 18-12867-BLS
                                        ClarivateDoc 1 Filed
                                                  Analytics dba 12/27/18
                                                                 Compumark Page 70 of 87
                                                                                Corbel Solutions, LLC
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Durango, CO 81301                         Orem, UT 84057                         Culver City, CA 90230




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City of Lamar                             Colonial Life                          Cosmetic Industries, Inc
Sales Tax Department                      Processing Center P.O. Box 1365        13489 Slower Ave.
102 E. Parmenter                          Columbia SC 29203 1365                 Fontana, CA 92337
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Tax Return and License Renewal            P.O. Box 1365                          13489 Slower Ave., #A
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Wasilla, AK 99654
Crown Lift Trucks       Case   18-12867-BLS
                                        Darrin Doc
                                               Allred1   Filed 12/27/18      Page 71 of 87McIntyre
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                                       Direct Selling   Filed 12/27/18   Page 72
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                                                                                    87      LLC
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Ericka Contreras         Case 18-12867-BLS
                                       Fedex Doc 1         Filed 12/27/18   Page 73 of 87
                                                                                 Go-2  Fulfillment
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                     Case
Hanchett Paper Company dba 18-12867-BLS       Doc 1 Filed 12/27/18
                            Shorr Packl~gily Jones                           Page 74 of 87
                                                                                  Indigo America, Inc.
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                           Case 18-12867-BLS    Doc 1 Filed 12/27/18
                                         J Tedeschi &Associates LLC
                                                                            Page 75 of 87
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                                        Katherine   1 Filed 12/27/18
                                                  Crawford                Page 76 of 87 Gouldbourne
                                                                               Kimberly
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Landmark Global       Case   18-12867-BLS
                                      Lex JetDoc 1    Filed 12/27/18    Page 77 of 87 Ekstrom
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                                        Maven Doc  1 FiledInc.
                                              Technologies  12/27/18     Page 78 of 87 Madsen
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                                       National Benefit Services, LLC
                                                                           Page 79 of 87
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West Jordan, UT 84084                   Lehi, UT 84043                           New York, NY 10281
Oracle                  Case 18-12867-BLS
                                      ParsonsDoc   1 &Filed
                                               Behle          12/27/18
                                                          Latimer        Page 80 of Valley
                                                                              Pine  87     Realty
15612 Collections Centre Drive        201 South Main Street Suite 1800         c/o Julie Webb
Bronto Software; LLC                  Salt Lake City, UT 84111                 372 S. Main St., #A
Chicago, IL 60693                                                              Alpine, UT 84004


Oracle - Bronto Software, LLC         PayPal, Inc.                             Pitney Bowes Global Financial Ser
15612 Collections Centre Drive        eBay Fark North                          PO Box 371887
Chicago, IL 60693                     2211 North First Street                  Pittsburgh, PA 15250-7887
                                      San Jose, CA 95131


Orkin Pest Control                    Pedro Perez Aquino                       Pitney Bowes Global Financial Ser
PO Box 7161                           597 N State St #31                       PO Box 371887
Pasadena, CA 91109-7161               Orem, UT 84057                           Pittsburgh, PA 15250-7887




Orkin Pest Control                    Pepsi Cola of Springville                Pitney Bowes-Purchase Power
PO Box 7161                           940 Spring Creek PI                      PO Box 371874
Pasadena, CA 91109-7161               Springville, UT 84663-3054               Pittsburg, PA 15250-7874




Packaging Corporation of America      Pepsi Cola of Springville                Private Label Nutraceuticals
1955 West Field Court                 P940 Spring Creek PI                     1900 Beaver Ridge Circle
Lake Forest, IL 60045                 Springville, UT 84663-3054               Norcross, GA 30071




Packaging Corporation of America      Photofy, Inc.                            Raquel Zapata
1955 West Field Court                 2138 Pine Drive                          905 E Center Street
Lake Forest, IL 60045                 Raleigh, NC 27608                        Provo, UT 84606




Paige Peery                           Photofy, inc.                            RBM Services
512 E Braidhill Dr                    2138 Pine Drive                          1515 N Riverside Ave.
Draper, UT 84020                      Raleigh, NC 27608                        Provo, UT 84604




Pamela Walker                         Photofy, Inc.                            RBM Services
687 W 700 N                           1053 E Whitaker Mill Rd #107             1515 N Riverside Ave.
Orem, UT 84057                        Raleigh, NC 27604                        Provo, UT 84604




Parr, Brown &Gee Loveless Trust AccouR~otoShelter, Inc.                        Recycling Network Europe
101 South 200 East suite 700          33 Union Square West 2/F                 Rene AG Headquarter Steinrinnenw
Salt Lake City, UT 84111              New York, NY 10003                       D-87745 Eppishausen
                                                                               EUROPE


Parsons Behie & Latimer               PhotoShelter, Inc.                       Reese Poyfair Richards, PLLC
201 South Main Street Suite 1800      33 Union Square West 2/F                 1275 East Fort Union Boulevard Su
Salt Lake City, UT 84111              New York, NY 10003                       Cottonwood Heights, UT 84047
Regional Supply, Inc       Case 18-12867-BLS   Doc 1
                                         RME, INC         Filed 12/27/18   Page 81 of 87
                                                                                Rush  Truck Leasing dba Idealease
4517 W 1730 S                            PO Box 608                              P.O. Box 25934
Salt Lake City, UT 84104                 Meridian, ID 83680                      Overland Park, KS 66225




Republic Services                        RNH, LLC                                Ryan Penfold
FO Box 78829                             428 S X400 E                            939 South 2100 West
Ptioer~ix, AZ 85062-8829                 Fruit Heights, UT 84037                 Orem, UT 84058




Republic Services                       RNH, LLC                                 Safety-Kleen Systems, Inc
PO Box 78829                            428 S 1400 E                             PO Box 650509
Phoenix, AZ 85062-8829                  Fruit Heights, UT 84037                  Dallas, TX 75265-0509




Revco Leasing Company                   Robert Walter                            Salt Palace Convention Center
P.O. Box 65598                          364 S. Murdock Dr.                       100 S W Temple
Salt Lake City, UT 84165-0598           Pleasant Grove, UT 84062                 Salt Lake City, UT 84101




Revco Leasing Company                   Robin K. Rosenthal                       Sam Dearing
P.O. Box 65598                          210 North State Street Unit 1            254 North Birmingham Lane
Salt Lake City, UT 84165-0598           Salt Lake City, UT 84103                 North Salt Lake, UT 84054




Revenue Discovery Systems-Birmingham, ~binsage LLC                               Samantha Nielsen
Post Office Box 830471                8180 S. 700 East                           1246 N 100 W
Birmingham, AL 35283                  Sandy, UT 84070-0562                       American Fork, UT 84003




Richard Mortensen                       Rocky Mountain Power                     Sandybel Vazquez
2780 East 4135 South                    PO Box 26000                             1159 South 900 East
Salt Lake City, UT 84124                Portland, OR 97256-0001                  Provo, UT 84606




Ricoh USA, Inc.                         Rocky Mountain Power                    Sara Ungricht
PO Box 660342                           PO Box 26000                            334E 950 S
Dallas, TX 75266-0342                   Portland, OR 97256-0001                 Payson, UT 84651




Ricoh USA, Inc.                         Rubi Lopez                              Sarah L Ungricht
PO Box 660342                           983 West 1055 North #808                334E 950 S
Dallas, TX 75266-0342                   Orem, UT 84057                          Payson, UT 84651




RME, INC                                Rush Truck Leasing dba idealease        Sarah Griener
PO Box 608                              964 South 3800 West                     3813 Prairie Grass Dr
Meridian, ID 83680                      Salt Lake City, UT 84104                Lehi, UT 84043
Sarah Griener           Case 18-12867-BLS
                                      Sheena Doc  1 Filed 12/27/18
                                              Haueter                Page 82 of 87E Barahona
                                                                          Stacey
3813 North Prairie Grass Drive        609 South Highpoint Drive             177 Starcrest Drive
Lehi, UT 84043                        Saratoga Springs, UT 84045            Orem, UT 84058




Sarah Scussel                        Silvia Reynaga                         Staci Simianer
10i Point Lobos Ave #304             492 N 400 W                            674 Easi 700 North
San Francisco, CA 94121              Orem, UT 84057                         Orem, UT 84097




Scarlett Ensaldo                     Simone LaJaunie                        Stacy Sova
808 S 750 W APT 2                    355 W 920 North                        9119 Marsh View Dr
Orem, UT 84058                       Orem, UT 84057                         Fenton, MI 48430




Sean Weinle                          Simply Toner LLC                       Stak Product Services Limited (HK
2711 Danville Dr.                    1258E 2050 N                           Rm 1208 Wayson Commercial Bidg
Sandy, UT 84092                      Lehi, UT 84043                         Sheung Wan, Hong Kong
                                                                            CHINA



Serena Goodell                       Simply Toner LLC                       State of Ohio
487 West 1350 South #7-0487          1258E 2050 N                           46841 Winterset Dr
Orem, UT 84058                       Lehi, UT 84043                         Columbus, OH 43220




Sesac, Inc.                          Sorelly Garcia                         Stephanie Dahle
35 Music Square East                 2939 Wildflower Drive                  1750 S Main St
Nashville, TN 37203                  Dallas, TX 75229                       Mapleton, UT 84664




Shaela Mitchell                      Spectrum Solutions                     Steven Stansfield
94 W 400 N                           12248 S. Lone Peak Parkway Suite 106   5626 West 11450 South
Spanish Fork, UT 84660               Draper, UT 84020                       Payson, UT 84651




Shannon Van Grinsven                 Sprinkir, Inc.                         Stirling McLaren
12-166 Bonaventure Drive             29 West 35th Street 8th Floor          2043 Stadium In
London ON n5v4y4                     New York, NY 10001                     Provo, UT 84604
CANADA



Shawlite Inc.                        Squire                                 Stophiann Johnson
3143 S Trailblazer                   1329 South 800. East                   462 S Lakeview
West Valley, UT 84128                Orem, UT 84003-3366                    Vineyard, UT 84058




Shawlite Inc.                       Squire                                  Style House PR
3143 S Trailblazer West             1329 South 800 East                     172 President Street
Valley, UT 84128                    Orem, UT 84003-3366                     Brooklyn, NY 11231
Superior Water &Air Case        18-12867-BLS
                                         Tana Doc 1 Filed 12/27/18
                                              R Cofer                      Page 83
                                                                                TheofInn
                                                                                      87 at Opryland, A Gaylord H
3536 S 1950 W                           315E 300 N                               2401 Music Valley Drive
West Valley City, UT 84119              Orem, UT 84057                           Nashville, TN 37214-1002




Swagger LLC                             Tapia N Narvarro                         The Jon Gordon Companies, Inc.
3572 East Danish Road                   580 G Street Apt. 5                      830-~3 A1A North Suite '111
Sandy, UT 84093                         Chula Vista, CA 91910                    Ponte Vedra Beach, FL 32082




Sydney Dietrich                         Tanya Colon                              The Jon Gordon Company
270 North Center Street, #1             1827 W 800 N                             830-13 A1A North Suite 111
American Fork, UT 84003                 Pleasant Grove, UT 84062                 Ponte Vedra Beach, FL 32082




Sydney E Roeller                        Tara Webb                                The Jon Gordon Company
153 North 450 West                      1779 Rhine Drive                         830-13 A1A North
American Fork, UT 84003                 Easton, PA 18045                         Suite 111
                                                                                 Ponte Vedra Beach, FL 32082


Synergy North America Inc.              Taylor Ehat                              The Kingsbury Group PTY LTD
10901 W. 120th Avenue Suite 240         2150 N 2230 W                            Lumineye Nail Craft Innovations 2/9
Broomfield, CO 80021                    Lehi, UT 84043                           Yatala QLD 4207
                                                                                 AUSTRALIA


Synergy North America Inc.              Taylor Timothy                           The Regulatory Department
10901 W. 120th Avenue Suite 240         130 East 400 South                       1478 N 280 W
Broomfield, CO 80021                    Spanish Fork, UT 84660                   Orem, UT 84057




Synergy North America Inc.              Terry Baughman                           The Regulatory Department
174 E. Bay Street                       2084 South Bullrush Pwky                 1478 N 280 W
Suite 300C                              Lehi, UT 84043                           Orem, UT 84057
Charleston, SC 29401



TAG Fire Extinguisher Services          Texas Comptroller                       The Travelers Indemnity Company
7103 South Redwood Road Suite 221       P.O. Box 149348                         0229 PO Box 660317
West Jordan, UT 84084                   Austin, TX 78714-9348                   Dallas, TX 75266-0317




Talkdesk, Inc.                          Texas Franchise/Comptroller of Public   Therma Glass Windows &Doors
535 Mission Street 12th Floor           P.O. Box 149348                         430 West 1200 North
San Francisco, CA 94105                 Austin, TX 78714-9348                   Orem, UT 84057




Talkdesk, Inc.                          The Hanover Insurance Group             Thread Wallets LLC dba Colby Ba
535 Mission Street 12th Floor           0228 PO Box 580045                      3937 Edgwood Drive
San Francisco, CA 94105                 Charlotte, NC 28258                     Provo, UT 84604
Tiffany Nuga           Case   18-12867-BLS    Doc 1
                                       Uline, INC.     Filed 12/27/18     Page 84 of 87
                                                                                Urban Model and Film Managemer
298 W 1250                             PO Box 88741                             718 N 300 W
American Fork, UT 84003                Chicago, IL 60680-1741                   Salt Lake City, UT 84103




Timothy Schimandle                     Uline, INC.                              Urban Model and Film Managemer
1577 E Delaware Lane                   PO Box 88741                             718 N 300 W
Salt Lake City, UT 84117               Chicago, IL 60680-1741                   Salt Lake City, UT 84103




Tina M Abbott                          Unimerica Insurance Co                 Utah County Tax Assessor
2261 W 670 S                           PO Box 860511 Minneapolis MN 55486-0511'DO East Center Street
Pleasant Grove, UT 84062               Minneapolis, MN 55486-0511            Suite 1200
                                                                             Provo, UT 84606


TinyTorch, Inc.                        United Brands Marketing                 Utah County Treasurer
954 East 1000 North                    52-A D-53859 Niederkassel               Personal Property Division
Pleasant Grove, UT 84062               GERMANY                                 100 East Center, Suite 1200
                                                                               Provo, UT 84606


Tracey Ashford                         United Healthcare Insurance Co          Utah Express Test
16 Elerridge Crt.                      22561 Network Place                     1041 South Orem Blnd.
Stoney Creek, ON L8J 3R6               Chicago, IL 60673-1225                  Orem, UT 84058
CANADA



Tracey Ashford-US                      United States Treasury                  Utah Paperbox, dba UPB
16 Elderridge Crt                      Department of the Treasury Treasury Int 920 South 700 West
Stoney Creek ON L8J 3R6                Odgen, UT 84201                         Salt Lake City, UT 84104
CANADA



Treasure Valley Coffee, Inc            UPS                                     Valery Perez
P.O. Box 71613                         Lockbox 577                             100 South Geneva Road
Salt Lake City, UT 84171               Carol Stream, IL 60132-0577             Vineyard, UT 84058




Treasure Valley Coffee, Inc            UPS                                     Vantage Business Centre
P.O. Box 71613                         Lockbox 577                             202-211 Horseshoe Lake Drive
Salt Lake City, UT 84171               Carol Stream, IL 60132-0577             Halifax NS B3S OB9
                                                                               CANADA


Tricia Harmon                          UPS Supply Chain Solutions, Inc.        Vasa Fitness
1758 West Center Street                28013 Network Place                     9815 S Monroe Street #103
Provo, UT 84601                        Chicago, IL 60673-1280
                                                                               Sandy, UT 84070


Turanzas, Bravo & Ambrosi             UPS Supply Chain Solutions, Inc.         Vasa Fitness
Paseo de Los Tamarindos 100, Bosques d~8013 Network Place                      9815 S Monroe Street #103
05120 Ciudad de M xico, CDMX          Chicago, IL 60673-1280                   Sandy, UT 84070
MEXICO
Veracity
                        Case 18-12867-BLS   Doc 1 Filed 12/27/18
                                      Warren Isaacson
                                                                          Page 85 of 87
                                                                                Workman Nydegger
170 Election Road, Ste 200              356 S 700E                              60 East South Temple Suite 1000
Draper, UT -84020-6420                  Orem, UT 84097                          Salt Lake City, UT 84111



Veracity                                Weldon Industries                       World Pay
170 Election Road, Ste 200              601 W 700 S Suite 101                   201 17th St NW #1000
Draper, UT 84020-6420                   ~'leasant Grove, UT 84062               Atlanta, GA 30363



Verizon Wireless                        WI Commercial Properties West AF LLC WSRP
PO Box 660108                           4914 Joanne Kearney Blvd.            155 N 400 W, Suite 400
Dallas, TX 75266-0108                   Tampa, FL 33619                      Salt Lake City, UT 84103



Vomela Specialty dba. Fusion Imaging-   Wilcock Inc.                            WSRP
601 W Boro Street                       645 North 200 East                      155 N 400 W, Suite 400
Kaysville, UT 84037                     Springville, UT 84663                   Salt Lake City, UT 84103



Vox Marketing Group                     William Lewis                           Wynright Corporation
2222 South 950 East                     549 S Elizabeth St                      2500 York Road
Provo, UT 84606                         Salt Lake City, UT 84102                Elk Grove, IL 60007



Vox Marketing Group                     Winston Max                             Wynright Corporation
2222 South 950 East                     1836 north 650 west                     2500 York Road
Provo, UT 84606                         Provo, UT 84604                         Elk Grove, IL 60007



Vox Marketing Group                     Wisconsin Department of Revenue         YRC Freight (RDWY)
2222 South 950 East                     2135 Rimrock Rd.                        P.O. Box 730375
Provo, UT 84606                         P.O. Box 8907                           Dallas, TX 75373-0375
                                        Madison, WI 53708-8907


Walt Disney Company Pty Ltd             Workers Compensation Fund               YRC Freight (RDWY)
South Yarra                             PO Box 26488                            P.O. Box 730375
Melbourne, VIC 3141                     Payment Processing Center               Dallas, TX 75373-0375
AUSTALIA                                Salt Lake City, UT 84126-0488


Warner Bros. Consumer Products, Inc     Workers Compensation Fund             ZenApply
4000 Warner Blvd                        Payment Processing Center PO Box 26488375 South 300 West
Burbank, CA 91522                       Salt Lake City, UT 84126-0488         Salt Lake City, UT 84101



Warren Isaacson                         Workman Nydegger                       ZenPrint
356 S 700E                              60 East South Temple Suite 1000        1825 S East Bay Blvd
Orem, UT 84097                          Salt Lake City, UT 84111               Provo, UT 84606
ZenPrint                  Case 18-12867-BLS   Doc 1   Filed 12/27/18   Page 86 of 87
1825 S East Bay Blvd
Provo, UT 84606




ZimZee Recruiting
20~i 5 S Farkview Drive
Mapleton, UT 84664




Zion's Commercial Card Services
1 Main St,
Salt Lake City, UT 84133
                                   Case 18-12867-BLS                    Doc 1     Filed 12/27/18         Page 87 of 87




                                                                Uiaited States B~I~krtiptcy Co~irt
                                                                        District of Delaware
 In re      JN Winddown, LLC                                                                               Case No.
                                                                                 Debtors)                  Chapter




                                          CORPORATE O~'VNERSIIIP ST~TER'IENT(RULE 7007.1)


Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JN Winddown, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly owns) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Jamberry Nails Intermediate, LLC
 c/o Stuart Martin
 1185 Avenue of the Americas
 39th Floor
 New York, NY 10036




❑ None [Check ifapplicable]




                                                     -- --...
 Date
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for ~N Winddown, LLC
                                                                     Pachulski Stang Ziehl &Jones LLP
                                                                     919 North Market Street
                                                                     17fh Floor
                                                                     Wilmington, DE 19801
                                                                     302652-4100 Fax:302-652-~~b00




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